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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF SOUTH CAROLINA
                         FLORENCE DIVISION



  NATIONAL ASSOCIATION FOR THE )
  ADVANCEMENT OF COLORED PEOPLE,)
  INC., ET AL.,                           )
              Plaintiffs,       )              May 8, 2018
                                )
         -versus-               )              4:18-554
                                )
                                )              Greenville, SC
  CITY OF MYRTLE BEACH, ET AL., )
                                )
            Defendants.         )


                    TRANSCRIPT OF MOTION HEARING

            BEFORE THE HONORABLE A. MARVIN QUATTLEBAUM
             UNITED STATES DISTRICT JUDGE, presiding


  A P P E A R A N C E S:

  For the Plaintiffs:                     REED N. COLFAX, ESQ.
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  Court Reporter:                         KAREN E. MARTIN, RMR, CRR
                                          300 E. Washington Street
                                          Room 304
                                          Greenville, SC 29601

  The proceedings were taken by mechanical stenography and
  the transcript produced by computer.




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 1                              Tuesday, May 8, 2018

 2           (WHEREUPON, court was called to order at 1:30 p.m.)

 3                 THE COURT:       Please be seated.        Good afternoon.

 4                 We're here on 18CV554 and, specifically, the

 5     plaintiff's motion for preliminary injunction.                  First, I

 6     want to thank everybody for coming to Greenville.                  I know

 7     there was a desire to have this heard before Memorial Day,

 8     and this was the only place we could have it heard within

 9     that timeframe.       So I hope that wasn't too big an

10     imposition, especially for folks who came from other

11     places in the lower part of the state, but we're glad to

12     have you here.

13                 I would like to go over a few logistical things

14     beforehand.       I hope that will help y'all out and help us

15     maybe plan how we're going to use the afternoon.

16                 THE COURT REPORTER:          Something is wrong with the

17     sound.

18                 THE COURT:       First, when you're speaking, Karen

19     Martin is our court reporter.            We may --

20                 THE COURT REPORTER:          That's it.        Turn that off.

21                 I'm so sorry, Judge.

22                 THE COURT:       That's all right.        You're fine.

23                 THE COURT REPORTER:          There's something in my ear

24     and I can't hear anything.

25                 When you hit that green one, it went away.



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 1                 THE CLERK:       Is that better?

 2                 THE COURT REPORTER:            Yes.   Thank you.

 3                 Sorry, Judge.

 4                 THE COURT:       Okay.       Well, that was right on cue

 5     because, obviously, it's important for her to hear

 6     everything.       And sometimes even when it's all people here

 7     from the south, we get talking too fast.                And we may slow

 8     people down or tell you to just take it easy a little bit.

 9     We're not trying to be rude, we just want to make sure

10     Karen can get everything that needs to be said.

11                 THE COURT REPORTER:            Thank you.

12                 THE COURT:       Let me say this, I have read and

13     re-read the briefs and the exhibits.               It's been well

14     briefed and thoroughly briefed and we appreciate that.                       I

15     don't say that to discourage you from making any

16     presentation you want to make.              Just realize the record

17     includes the submissions and we're familiar with those.

18     And as you figure out how to plan your time, I don't want

19     you to think if you don't bring something to the Court's

20     attention, we haven't looked at it.               We've looked at

21     everything that's been submitted so far more than once.

22     So I want you to be aware of that.

23                 Timing.      As I indicated on our status

24     conference, we're going to go until 5:30.                   It's not like

25     I'm going to shut the lights off at that point.                   And if



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 1     you're done before then, no one here is going to be upset

 2     with you.     But we have dedicated a full four hours of

 3     court time for this hearing.

 4                  Here's what I'd like to do.          I'd like for three

 5     hours of it to be the presentations of the parties.

 6     That's because I have a number of questions I want to ask

 7     and I think it'll take an hour or so to do that.                 That's

 8     going to be cutting it kind of close.             And I'd like y'all

 9     to go for three hours.        How you use your three hours

10     doesn't make any difference to us.            You can make

11     arguments.     I know people have witnesses.              All that is

12     fine.

13                  But let me say this, consider -- in general, I'd

14     like for there to be, you know, hour and a half for the

15     plaintiffs and hour and a half for the defendants.                  And

16     when you -- that's no problem when you're talking about

17     lawyer time.      That's easy to monitor.         But I'm going to

18     include cross-examination time in that.              So just kind of

19     plan that as you do your direct exam and your argument

20     that I'm going -- if you use all that time up, you know,

21     I'm not going to say you can't cross-examine anyone, but

22     I'm going to restrict you on that.            That way, we'll finish

23     around 4:30 and have time for the questions that, you

24     know, at least at this point I want to answer.                 Y'all may

25     answer them in the course of the day, but there'll



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 1     probably be some things that we have at the end.

 2                  In general, we'll take -- we'll get started here

 3     in just a few minutes.        You know, take a break roughly,

 4     3 o'clock.     If anyone needs one before, just raise your

 5     hand.     It's non-jury, so we'll accommodate everyone.               But

 6     in general, I'd like to go until about 3:00, then take

 7     one, you know, roughly 4:30, so we all have a chance to

 8     kind of be fresh for the full session.

 9                  Exhibits.    Y'all have submitted, you know,

10     extensive exhibits.       And I don't say that in a pejorative

11     way.    And what I have done is Mr. Bostic, our courtroom

12     deputy, and Ms. Martin, our court reporter, have a copy of

13     the indexes that y'all submitted with your courtesy copies

14     with the notebooks.       And here's kind of what I was

15     thinking about indexes, all those -- I mean, exhibits.

16     All those exhibits are part of the court record, of

17     course.    They've already been submitted.

18                  You know, the Fourth Circuit law on the

19     standards of evidence to be considered is out there.                  I'm

20     sure y'all are familiar with it.            It's less than, of

21     course, the rules of evidence.            I want to talk about the

22     motion that the plaintiffs filed in a minute.               But, in

23     general, with that guidance from the Fourth Circuit, our

24     inclination is to allow the parties to refer to any

25     exhibits that were submitted.           We don't need those



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 1     remarked.     In fact, we don't want those remarked unless

 2     that's going to be a big problem because we have that

 3     index and we'd rather just stick with that.

 4                 So if y'all are referring to a document or any

 5     other exhibit, please refer it by the numerical

 6     designation in your submissions.             You don't need to tender

 7     it and go through the admission standards.                 Since we don't

 8     have a jury here now, the Court's able to give appropriate

 9     consideration or lack of consideration based on various

10     factors.    But I don't want y'all to feel like you need to

11     go through that process since it's all in the record at

12     this stage.

13                 If there's anything that does get submitted

14     through a submission process -- and I'm not encouraging

15     that, I'm not discouraging it -- but if that happens, we

16     have a procedure for giving those back at the conclusion

17     of the case.      But we'll talk about that if it comes up.

18                 Let me just say this, I think this is

19     understood.       When I indicated just a second ago that I

20     will let you refer to any of the exhibits for purposes of

21     this hearing, that is for purposes of this hearing alone.

22     It's without prejudice for the parties to make appropriate

23     exhibits -- objections based on the rules of evidence as

24     the case proceeds.        So I just wanted to be clear that

25     neither the Court's waiving nor any other party is waiving



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 1     the ability to raise more fulsome evidentiary objections

 2     as the case proceeds from this point forward.

 3                  Let me now address the plaintiff's motion to

 4     exclude.     And I appreciate y'all doing that.              I was aware

 5     of the Fourth Circuit standard at the time.                 I wanted to

 6     make sure if there were major issues, we addressed them.

 7     I'm going to deny the motion to exclude.                I think, first

 8     of all, given the standard that we're talking about,

 9     both -- yeah, I can give these things whatever weight they

10     desire.     I think the -- that the videos, there's some

11     level of authentication in the affidavits already, so I'm

12     going to deny it as to that.              As to the Charlottesville

13     document, I'm not going to exclude it, but I don't find

14     that particularly relevant.              And you can spend time with

15     it if you want, but I'm not sure that would be the best

16     use of your time.        So I'm not going to formally exclude

17     it, but I appreciate y'all bringing those issues to the

18     Court's attention.

19                  Last thing, technology.           I know y'all came in

20     and worked through some things with the court personnel

21     here.     I hope that goes well.           You never know when you

22     start that how it goes.          So if we have an issue, we'll

23     take it up.       But that's -- hopefully, that goes smoothly.

24     We have a monitor here and so we'll be able to see

25     everything and, hopefully, y'all will be as well.



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 1                  With that said, unless there's something else

 2      that the parties have, I'd like to proceed.              We're on a

 3      somewhat limited time.        Is there anything else from the

 4      plaintiff we need before we get started?

 5                  MR. COLFAX:      Nothing further from the

 6      plaintiffs, Your Honor.

 7                  THE COURT:     From the defendant?

 8                  MR. MICHAEL BATTLE:         Nothing from the defendant,

 9      Your Honor.

10                  THE COURT:     Let me do this.        Could y'all -- I

11      have -- I don't know everybody.           So if y'all could just

12      introduce yourselves.        And it may be that y'all know who's

13      going to do all the talking, it may be that you don't, but

14      if you could, before you start, just let us know who you

15      are so I can address you appropriately.

16                  MR. COLFAX:      Reed Colfax for the plaintiffs.

17                  MS. RAMCHANDANI:       Tara Ramchandani for the

18      plaintiffs.

19                  MS. ARANDES:      Good afternoon.       Laura Arandes for

20      the plaintiffs.

21                  MR. SPENCE:      Good afternoon, Your Honor.          Dorian

22      Spence for the plaintiffs.

23                  MR. WILLIAMS:      Willie Williams for the

24      plaintiffs.

25                  THE COURT:     Thank you.       It's nice to have all



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 1      y'all here.       I know some of you came from out of state and

 2      from other parts of the state, so welcome to Greenville.

 3                   Yes, sir?

 4                   MR. MICHAEL BATTLE:         Mike Battle, on behalf of

 5      the respondent, I'll be doing the presentation.                And James

 6      Battle, my son, will be doing the questioning of the

 7      witnesses.

 8                   THE COURT:     Thank you both.

 9                   Mr. Colfax, if you'd like to proceed?

10                   MR. COLFAX:      Thank you, Your Honor.

11                   Your Honor, we're here today on plaintiff's

12      motion to enjoin a traffic plan that is planned for Black

13      Bike Week of this year, a plan that is unjustified, is

14      unfair, and, ultimately, is unconstitutional.

15                   It's unjustified because the plan has no

16      relationship to any of the goals that the city has

17      articulated for having the plan in the first place.                  In

18      fact, the plan does the exact opposite.              It actually

19      interferes with the goals that the city has articulated

20      that it wants to achieve.

21                   It's unfair because it makes it difficult for

22      the participants in Black Bike Week to attend the event,

23      to travel around the event, and to just generally enjoy

24      the event.       It's the only event in Myrtle Beach that has a

25      traffic plan of this scope and nature.



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 1                  And then finally, the evidence will show that

 2      it's unconstitutional.        The evidence shows that race was

 3      on the mind of the decision makers when they designed and

 4      implemented the plan.        And the evidence will show that the

 5      First Amendment rights of the attendees of Black Bike Week

 6      are infringed by the traffic plan.

 7                  So I'm going to start by going through the

 8      traffic loop and the one-way traffic plan that's in place

 9      for Black Bike Week.       But let me pause for a second and

10      say that if at any point I come close to an area where you

11      have a question, I'm more than happy to stop my

12      presentation and answer your question because that's

13      really the object of being here today.

14                  THE COURT:     Well, thank you for that.          I tend to

15      be fairly active in questioning, but I'm going to do my

16      best to wait until the end because I want to give y'all

17      time to put in what you want.           But thank you for saying

18      that.   I'm going to more than likely make notes and wait,

19      but I may have questions if we come back at the end of the

20      session.    But thank you for saying that.

21                  MR. COLFAX:      Very good.      Thank you, Your Honor.

22      And let me also just to give a little bit of a preview of

23      what we plan on doing today --

24                  THE COURT:     Yes, sir.

25                  MR. COLFAX:      -- is I will give this



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 1      presentation, go through the background, some of the law,

 2      and some of the facts that merely highlight some of the

 3      aspects of the briefs that I know you have reviewed.                 And

 4      then we're going to call two witnesses.

 5                  THE COURT:     Okay.

 6                  MR. COLFAX:      One witness is retired Police Chief

 7      Willie Williams, who has attended a number of Black Bike

 8      Weeks and Harley Weeks throughout the years going back as

 9      early as 1999; he will tell you exactly, but something

10      like 17 or 18 Black Bike Weeks over the years.               So he has

11      broad experience and will testify regarding that.

12                  THE COURT:     Yes, sir.

13                  MR. COLFAX:      Then we're also going to call David

14      Clarke, who is a professor and who has an expertise in

15      traffic engineering.       And he examined both the Black Bike

16      Week traffic pattern back in the early 2000s as well as

17      Harley Week, and then again in 2017.            So he'll give some

18      information in that regard.

19                  THE COURT:     And let me just on that note -- and

20      that's fine, the same issues that we talked about with the

21      exhibits I view with respect to expert witnesses or

22      consultants.     I'm going to allow that.          That's -- and in

23      fact I've read their declarations.            You are welcome to

24      present as much of their background as you think is

25      helpful.    But I have enough to allow them to testify on



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 1      the opinion basis for the purposes of this hearing without

 2      prejudice to any side to deal with that later on.

 3                  MR. COLFAX:      Thank you, Your Honor.

 4                  THE COURT:     And in saying, you know, with any of

 5      the witnesses from the defendant, I've looked at some of

 6      the information and I'm trying to say y'all don't have to

 7      go into as much background and qualifications as you might

 8      do in front of a jury.

 9                  MR. COLFAX:      Appreciate that, Your Honor.

10                  So let me turn now to really what brings us

11      here, which is the traffic plan.            And let me note that

12      there are more allegations in the complaint and challenges

13      to more aspects of what the city does during Black Bike

14      Week.   However, for the preliminary injunction motion,

15      it's limited solely to the traffic plan.             And what we're

16      seeking to enjoin is two aspects of the traffic plan.

17                  One is the one-way restriction on Ocean

18      Boulevard from where it intersects with 29 North to where

19      it intersects with 29 South.           And then the second aspect

20      is the traffic loop, where the ingress and egress from any

21      roads within the loop is severely limited for this 23-mile

22      loop.

23                  So let me, if I may, step up here.             I will try

24      to keep my voice up enough so that the court reporter can

25      hear me.



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 1                   THE COURT:     Sure.

 2                   MR. COLFAX:      So this is the map of the traffic

 3      loop and the traffic plan that's in place during Black

 4      Bike Week.       It's been in place from 2015 through 2017.

 5      And the city has indicated that they plan on implementing

 6      the exact same plan for 2018.

 7                   So the combination of the red and black lines

 8      show the entirety of the loop.             The red is the portion of

 9      the loop that is within the jurisdiction of the City of

10      Myrtle Beach.       Approximately, as you can see from the map,

11      about half of the loop.         And then the black portion of the

12      loop is in Horry County.

13                   Down here along the ocean, this is Ocean

14      Boulevard.       At this corner here at the top is the

15      intersection with 29 North.             That's where the one-way

16      restriction begins.        And it ends down toward the bottom of

17      the map where Ocean Boulevard reconnects with Kings

18      Highway, which is this Business 17, which is the major

19      thoroughfare that's just off from the beach.

20                   So the one-way portion of the traffic plan is in

21      place during the entirety of Black Bike Week.                So from

22      6 a.m., I believe, on Friday to 6 a.m. on Monday, any

23      vehicles traveling on Ocean Boulevard are traveling south

24      and limited to a single lane.

25                   And in addition, the turns on and off Ocean



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 1      Boulevard are significantly restrictive.             There are

 2      approximately six points along Ocean Boulevard where you

 3      can either exit or enter Ocean Boulevard.                I've put those

 4      marks in there, they're not necessarily precise, of where

 5      the entrances and exits are.           But all of these other

 6      cross-streets that intersect with Ocean Boulevard you

 7      cannot make turns on during the entirety of --

 8                   THE COURT:    And that's 24/7?        That's not part of

 9      the loop --

10                   MR. COLFAX:     That is correct.

11                   THE COURT:    -- restrictions, correct?

12                   MR. COLFAX:     That's correct.       So one way, one

13      lane, limited to six to eight entrances and exits from

14      Ocean Boulevard.

15                   THE COURT:    Okay.

16                   MR. COLFAX:     24/7 during the entirety of Black

17      Bike Week.

18                   Then at 10 p.m. -- and I should say

19      approximately 10 p.m. because last year, in particular, we

20      had some drivers that were in the Ocean Boulevard area and

21      they were funneled into the loop prior to 10 p.m.                 So

22      approximately around 10 p.m., the city imposes the loop

23      restrictions.

24                   THE COURT:    Yeah, I read in the declarations,

25      one or two around 9:45; is that correct?



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 1                  MR. COLFAX:      That's correct.       Once the loop

 2      restrictions are in, they last from 10 p.m. to 2 a.m. on

 3      Friday, Saturday, and Sunday nights of Black Bike Week.

 4      All traffic that is seeking to get onto Ocean Boulevard is

 5      funneled at this intersection with 29 North.

 6                  THE COURT:     Okay.

 7                  MR. COLFAX:      In this downtown area, that's the

 8      only place you can get onto Ocean Boulevard.               Those

 9      entrances and exits that I marked earlier, those are shut

10      off.   So now once you're on Ocean Boulevard, you must

11      remain on Ocean Boulevard, still one-way traffic, one lane

12      headed south.     And then you are funneled all the way

13      around this loop, as you can see, pushed back out to 501.

14                  And then here, I believe this is Dick Scobee

15      Road and Waccamaw Boulevard that's running parallel to

16      501, there is an ability to get out of the loop.                So you

17      can go north, go east, and -- well, maybe not east,

18      actually west --

19                  THE COURT:     Okay.

20                  MR. COLFAX:      -- if you're going to get out of

21      the loop.    If not, if you want to return to Ocean

22      Boulevard, then you have to stay in the loop all the way

23      back around until you come back to 29 North.

24                  THE COURT:     This may be clarified to your point

25      about going west.      Is it your understanding that you



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 1      cannot turn right, so to speak, back into the -- within

 2      the loop and make your way back down through one of those

 3      six entrances?

 4                  MR. COLFAX:      I believe, actually, you can get

 5      out and get back into -- you can get back into the City of

 6      Myrtle Beach.     You cannot get in one of these entrances

 7      back to Ocean Boulevard.

 8                  THE COURT:     Okay.

 9                  MR. COLFAX:      There is one way and one way only

10      onto Ocean Boulevard, and that's at 29 North.

11                  THE COURT:     Okay.

12                  MR. COLFAX:      So that's the situation from 10 to

13      2 every night.     And that's the time when the significant

14      amount of activity is happening during Black Bike Week

15      where people are out at restaurants and clubs and so

16      forth.

17                  So just to pick for a second about the practical

18      effect of the loop.       So if you are staying in a hotel,

19      say, you're down at 9 South on Ocean Boulevard and you

20      want to go to a restaurant or a club or whatever, say, at

21      9 North, the only way to do that would be to walk or to

22      drive the entirety of the loop back to whatever it may be,

23      half a mile north of where your hotel is because there's

24      no way to go north on Ocean Boulevard in a vehicle.

25                  So last year, we had some vehicles test the



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 1      length of time it would take to travel certain distances.

 2      And so for Ocean Boulevard, just to take this stretch of

 3      Ocean Boulevard from 29 North to 29 South, takes you

 4      approximately an hour and a half, hour and 45 minutes.

 5      And that was pre-loop hours, before the loop was even in

 6      place.

 7                  Now, in comparison, during Harley Week, that

 8      same trip would take 20 minutes, 30 minutes.               And at the

 9      peak time, the longest time measured during Harley Week,

10      it was about an hour and 20 minutes.            The longest time

11      during Black Bike Week was approximately five hours just

12      to travel the length of Ocean Boulevard.

13                  THE COURT:     Is that the testing Mr. Clarke --

14                  MR. COLFAX:      It is.

15                  THE COURT:     That's in his declaration, that

16      testing?

17                  MR. COLFAX:      Exactly.     Correct.

18                  THE COURT:     Thank you.

19                  MR. COLFAX:      So all of those times and exactly

20      the effect of the loop are in his declaration.

21                  So what we see and what we have in the

22      declarations from a number of the participants of Black

23      Bike Week is that this traffic loop and the one-way

24      traffic plan significantly interferes with their ability

25      to enjoy the event.



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 1                  And one of the things that comes up and is

 2      particularly significant to them is when this traffic is

 3      moving so slowly, they have to leave their bikes idling

 4      and they overheat.       So you will see in the declarations

 5      that there are riders who say I just simply can't take my

 6      bike out because I can't operate it because it overheats

 7      as it sits there and idles.

 8                  So I won't go through all of the declarations

 9      that we cited, but they're in the briefs and there are

10      numerous stories about the difficulties of the traffic

11      plan and what kind of pain really it causes for anybody,

12      whether it be a Black Bike Week attendee or anyone else

13      faces.

14                  Of course, it's during Memorial Day Weekend.                  So

15      there are many more people in town than just folks

16      attending Black Bike Week.

17                  So we also had Chief Brown, who is not here, he

18      was not able to come, but Chief Williams is here, who

19      submitted a declaration.         And he talked about the fact of

20      having seen Harley Week and having seen Black Bike Week,

21      that the roads operate significantly better, more

22      smoothly, traffic moves better during Harley Week when

23      there is no real traffic plan in place.             There may be some

24      limitations on ingress and egress from some side streets

25      on Ocean Boulevard.       But as a general matter, there are no



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 1      significant changes to the traffic plan and traffic moves

 2      much better.

 3                   And another thing that you'll hear from

 4      Professor Clarke is that in the area -- in the Myrtle

 5      Beach area, there are similar number of vehicles on the

 6      road during Harley Week and during Black Bike Week.                 And

 7      it's just because of this traffic plan and the reduction

 8      of the volume of vehicles that can travel on Ocean

 9      Boulevard in particular that creates this traffic

10      congestion that we see that leads to these very, very long

11      periods of time.

12                   So to be clear, as I said, there are more --

13      we're challenging more than just the traffic loop in the

14      complaint as a whole.        But in this preliminary injunction

15      motion, there are two things.           One is to remove the

16      one-way restriction on Ocean Boulevard during the entirety

17      of Black Bike Week, and to eliminate the traffic loop on

18      Friday and Saturday and Sunday nights.

19                   So I'm sure, Your Honor, you're familiar with

20      the preliminary injunction standard, so the familiar four

21      prongs.     And let me just make one note about an argument

22      made by the defendants regarding a mandatory versus a

23      prohibitory injunction.        The defendants suggest that this

24      is a mandatory injunction so we would face a higher

25      standard.



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 1                  First, just to be clear on what it means for

 2      what the standards are.        For a mandatory preliminary

 3      injunction, it's the same four prongs, like the excess

 4      irreparable harm, public interest, balance of the

 5      equities.     But what the courts instruct is that the review

 6      of those should be more searching when it's a mandatory

 7      injunction.

 8                  THE COURT:     The more searching eyes, apparently,

 9      what I'm supposed to do if that were to apply.               I'm not

10      really sure what that means.

11                  MR. COLFAX:      Exactly.     And I've looked to see

12      what is the guidance of what does it mean to be more

13      searching and there's not a lot there.

14                  THE COURT:     We agree with that.

15                  MR. COLFAX:      Just have to take a closer look.

16                  Now, with that being said, our position is this

17      is a prohibitory injunction.           And the reason it's a

18      prohibitory injunction is because what we actually seek to

19      do is maintain the status quo in two ways.

20                  One, the status quo is what the roads are 362

21      days of the year.      362 days of the year, for the most

22      part, with some events with some limited changes to the

23      traffic plans, there's no one-way restriction, there's no

24      traffic loop.     So the status quo.         The Thursday before

25      Black Bike Week, there's no traffic restrictions.                And



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 1      it's the city that wants to change that and put the

 2      traffic plan into place.

 3                   Second, even if one were to assume that the

 4      status quo is that every year during Black Bike Week we

 5      put in a traffic plan, what the plaintiffs seek -- are

 6      challenging is actually all of those traffic plans, the

 7      entirety of this policy starting back in 2015 of putting

 8      this traffic plan in place.            So we want to return to the

 9      status quo prior to 2015 when there was no traffic plan in

10      place for Black Bike Week.

11                   So either way, this is properly seen as a

12      prohibitory rather than mandatory injunction.               Even if it

13      were a mandatory injunction, it just simply changes the

14      standard to the more searching review.

15                   So let me turn to likelihood of success on the

16      merits.    We move under two claims that plaintiffs are

17      making.    One is a combination of the equal protection

18      clause and 1981, which is essentially the same, and the

19      First Amendment.

20                   So I'll start with equal protection clause and

21      1981.     There are two things that plaintiffs have to show.

22      One, that they are being treated differently from others

23      that are similarly situated; and two, that the

24      differential treatment is motivated, at least, in some

25      part by race.



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 1                  Start with similarly situated.

 2                  THE COURT:     So let me just stop you.          On that

 3      first part, may be semantics, but it would seem to me it's

 4      three points.     It's different treatment, similarly

 5      situated, racial intent.         You combined the first two, but

 6      it's the same thing.       Are we on the same page with that?

 7                  MR. COLFAX:      We are on the same page.

 8                  THE COURT:     Okay.

 9                  MR. COLFAX:      I found that when trying to

10      articulate it, the differential treatment and the

11      similarly situated bled together.            But you're absolutely

12      right that --

13                  THE COURT:     I'm not sure there's as much dispute

14      about different treatment as there is the other prongs,

15      but we'll see.

16                  MR. COLFAX:      That's right.      So I will just

17      briefly note the differential treatment.             It's really a

18      repeat of what I've talked about.            This traffic plan is

19      unique in Myrtle Beach.        Nothing like it appears at any

20      other time during the year.            And I'll talk a little bit

21      later about some of the other events that the defendants

22      raise.

23                  And then it is treated differently to -- as

24      compared to Harley Week.         At Harley Week, which is the

25      similar event that happens the weekend before, there is a



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 1      significant amount of data and information that we have

 2      collected that shows that the number of attendees are

 3      similar.    Their behaviors during the weekend are similar.

 4      Basically, what they do while in town is similar.

 5                  So let me bring this up.          And I'll start with

 6      hotel occupancy data.        So this is cited in our brief.           We

 7      don't have a chart in our brief, but this is the data that

 8      is cited.    And if you look, the blue bar graphs are Harley

 9      Week, the orange are Black Bike Week.             And this is the

10      percentage of occupancy of hotels in the Myrtle Beach

11      area.

12                  As you can see, there's a little bit of

13      fluctuation from one year to the next showing from 2014

14      through 2017.     But for the most part, the level of

15      occupancy, which is a solid measure of how many

16      out-of-town people are in town, they are very similar

17      between the two events.        And in fact, in 2016 and 2017,

18      the occupancy rates were actually lower for Black Bike

19      Week.

20                  THE COURT:     What's the geographic area that that

21      covers?

22                  MR. COLFAX:      I believe it is the City of Myrtle

23      Beach is where they're collecting the data.

24                  So what this -- this is one piece of evidence to

25      show these two events are similar.



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 1                  And then we also have Chief Brown, who went to

 2      both Harley Week in 2017 and Black Bike Week in 2018, and

 3      he observed.

 4                  THE COURT:     '17.

 5                  MR. COLFAX:      I'm sorry, yes, '17.        And he

 6      observed what was happening during the two weekends.                 And

 7      as you can see from his observation, he concluded there

 8      are similar numbers of motorcyclists and others drivers.

 9      Driving habits were similar.           He doesn't suggest that the

10      driving habits were perfect, but if there were violations

11      in one weekend, there are similar violations the next

12      weekend.    And significantly, if there was some difference

13      in the number of people, the level of difference would not

14      be one that would justify a traffic plan or a different

15      traffic plan to be put in place.            So again, another

16      observation showing that the two weekends are similar.

17                  And then finally, we can't ignore what Judge

18      Wooten found back in 2005 -- and that's a little small,

19      but hopefully you can read it there -- is that Judge

20      Wooten said it could not be seriously disputed that the

21      Black Bike Week visitors are being treated differently

22      than the Harley Week visitors.           And the plaintiffs have

23      presented credible expert testimony that there were no

24      significant differences that warranted the differences in

25      traffic plans.     So, again, Judge Wooten, having an even



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 1      fuller record, I acknowledge it was back in 2005, but the

 2      city has not come forward and said that there are

 3      significant differences in how these events are between

 4      now and back in 2005.

 5                  THE COURT:     You said something I wanted to make

 6      sure -- you said a more full record?

 7                  MR. COLFAX:      That's correct.       So the case back

 8      in -- was originally filed, I believe, in 2003 immediately

 9      after Black Bike Week.        So they had approximately a year

10      of discovery before the preliminary injunction motion was

11      filed and ruled on.       And it was ruled on immediately

12      prior --

13                  THE COURT:     Right, the deposition transcripts

14      referenced in that order, for example, that presumably

15      haven't happened in this case.

16                  MR. COLFAX:      Exactly.      Exactly.

17                  THE COURT:     Okay.       I understand.

18                  MR. COLFAX:      And then, finally, on this

19      similarly situated point is that we don't see any evidence

20      cited by the defendants regarding any data that would

21      suggest that these two events are significantly different.

22      In fact, the only real evidence we have from the

23      defendants is from bystanders, people who, you know,

24      had -- were simply visiting the two weekends or have a

25      business and observed the two weekends, but in no means



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 1      qualified like Chief Brown or Professor Clarke to actually

 2      do an empirical analysis comparing the two weekends.                  So

 3      that's Harley Week.       One event that's similarly situated

 4      to Black Bike Week.       And it's the best corollary.           No

 5      doubt about it.

 6                  But there are other events that happen in Myrtle

 7      Beach where there are significant crowds in place that

 8      don't have major traffic plans.           July 4th, they have the

 9      Sun Fun Festival.      Labor Day is large.         They have another

10      Harley Weekend in the fall, the Harley Rally in the fall.

11      Again, similar events, large numbers of people in town

12      traveling on Ocean Boulevard.           It's obviously a

13      destination in Myrtle Beach, yet no traffic plan.

14                  In response, the defendants talk about these few

15      other events that happen in Myrtle Beach that -- where

16      there's some change to the traffic pattern.              And I can say

17      this originally came up when we had -- before you had the

18      case, Judge Coggins had the case.            As you know, it has

19      passed through a few judges before landing on your desk.

20                  THE COURT:     We're glad to have y'all.          I don't

21      want to give any impression that other people won't.                  I

22      don't think that was the case, but we're glad to have you

23      here now.

24                  MR. COLFAX:      We recognize that we sometimes get

25      bounced around for whatever reason.            Judge Coggins asked



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 1      the question during just sort of a status conference, are

 2      there any other events where you have a one-way

 3      restriction or closed roads?           And the counsel for the city

 4      stated, yes, we have the marathon, we have the country --

 5      the Carolina Country Music Festival, and they added a

 6      couple more in their brief, the MLK Parade and the Jazz

 7      Festival.

 8                  All of the -- true, right, some roads are closed

 9      during those events, but those are events that happen in

10      the road.    The marathon, the runners are in the roads so,

11      obviously, the streets necessarily have to be closed.

12                  The Carolina Music Festival, the spectators and

13      the stage are basically on top of Ocean Boulevard.                So you

14      can't have traffic passing through.            So the roads around

15      the Carolina Music Festival, just that block around, are

16      closed.

17                  So you don't have to be a traffic engineer, an

18      expert in any of this to understand, yes, you have to

19      close those roads in accordance to that's where the

20      activities are happening in the street, nothing like

21      what's happening in Black Bike Week.

22                  It's not as if the parade -- there is a parade

23      happening on Ocean Boulevard.           And the marathon, as soon

24      as the runners pass, the roads reopen.

25                  Black Bike Week, that one-way restriction, 24/7



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 1      for the entire period of time.           So just, they are not

 2      comparable.      And even if they were comparable, Black Bike

 3      Week is still being treated differently because of the

 4      scope of the traffic plan that is put in place.

 5                  So you've got the differential treatment being

 6      the only traffic plan that's put in place, that scope, and

 7      you have similarly situated, in particular Harley Week as

 8      well as these other events.

 9                  The similarly situated also has to be viewed in

10      the context of the difference in the action that's being

11      challenged.      This is not similarly situated as, say, in

12      the employment context where two people are applying for

13      the exact same job, so they could just compare their

14      qualifications straight up.

15                  This is a question of is there a difference

16      between these two events that would justify a plan like

17      this for Black Bike Week and virtually no plan at Harley

18      Week?   Even if you see some differences between the two

19      events, and Professor Clarke will describe this more, you

20      would need a magnitude of difference between those two

21      events to justify the magnitude and difference in the

22      traffic plan.       So just merely saying, yes, they are

23      different would not be enough to take them out of the

24      similarly situated box of where they belong.

25                  Okay.    So you've got differential treatment,



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 1      simply situated, then you turn to is this motivated by

 2      race?    And as we described in our brief, courts typically

 3      use the Arlington Heights factors to assess, and

 4      particularly in municipal government's decisions, was it

 5      based in some part on consideration of race?

 6                  So the first factor that courts typically look

 7      at is is there a disproportionate effect on a protected

 8      class?    And here, there's really no dispute about it.

 9      Everybody agrees that Black Bike Week is the one

10      predominantly African-American event that happens in

11      Myrtle Beach during the year.            And of course, we know

12      there's also no dispute it's the one event that has a

13      traffic plan of this scope.            So it's just simply not -- so

14      the harms that are created by the traffic loop are

15      disproportionately borne by African-Americans as compared

16      to whites who are attending the vast majority of other

17      events during the year, including Harley Week.

18                  After looking at the disproportionate effect,

19      then the courts look at the history.            What is the history

20      of the action that's being challenged?             And here, the

21      current plan, what is proposed to be imposed in 2018

22      cannot be divorced from its original conception, which was

23      back in the early 2000s, and which was the traffic plan

24      that Judge Wooten found was likely -- under the

25      preliminary injunction standard, likely motivated by



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 1      considerations of race.         So he talks both about the

 2      statements that he reviewed from City of Myrtle Beach

 3      officials, that they considered and discussed when

 4      creating the Black Bike Week traffic plan and that they

 5      were seeking to discourage the predominantly

 6      African-American visitors from attending the Black Bike

 7      Week plan.       And as the court states at the end, the court

 8      concludes that race was a motivating factor when the issue

 9      of traffic plans was decided.

10                   True, traffic plan went on hiatus after this

11      preliminary injunction ruling.            There was a consent order

12      and traffic plans for Black Bike Week and Harley Week were

13      the same and then it expired.            A few more years pass and

14      then they bring it back.          And they bring it back in a way

15      that is significantly more restrictive than the plan that

16      Judge Wooten saw.       And just that passage of time doesn't

17      divorce this plan, which had aspects which are similar to

18      the one-way traffic plan along Ocean Boulevard.                You can't

19      divorce it from what happened back in the early 2000s.

20                   So Judge Wooten's finding back in the early

21      2000s that this was motivated by race has to be seen to

22      infect what's happening today when the exact same plan or

23      aspects of today's plan are exactly the same thing that

24      was happening in the early 2000s.

25                   Now, the defendant's response is the Fourth



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 1      Circuit, right?      That the Fourth Circuit, I think, on

 2      maybe a week or ten days got a motion to stay the

 3      preliminary injunction motion and granted that motion.

 4      The defendant's position is that essentially wipes out

 5      Judge Wooten's decision.         But, of course, as we pointed

 6      out and easy to see, the Fourth Circuit granted the stay

 7      but explicitly said expressed no view as to the ultimate

 8      merits of the case.

 9                  So you have Judge Wooten, who had a somewhat

10      developed record.      He went through that record.            He made

11      his decision concluding that it was likely motivated by

12      race.    He talked about what the statements made -- what

13      the statements made by the city officials meant and so

14      forth.

15                  And then the Fourth Circuit, for whatever

16      reason, which, of course, we don't know, we can speculate,

17      but we don't know, they stayed the preliminary injunction

18      motion but with no comment on the merits.                That does not

19      by any means void the findings of Judge Wooten.                And those

20      findings of Judge Wooten that there was discrimination in

21      the picture when that original traffic plan was created,

22      that's still effective even after the Fourth Circuit

23      decision.

24                  THE COURT:     So let me stop you.           There's one

25      thing I planned to talk about at the end, but since it's



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 1      right up here, I read both sides' positions on that.                 And

 2      quite frankly, I've got questions for both of you about

 3      your positions.

 4                  The defendants, you're right, talked about the

 5      stay as if it was, you know, gone to the merits, despite

 6      the second paragraph there.            But are you saying that -- I

 7      don't understand your position that it, you know, has no

 8      effect on the order.       I mean, it is stayed and it is a

 9      higher court.     What's your authority for saying an order

10      that stays an injunction -- you know, sounds like you're

11      almost saying it should be disregarded as to the findings

12      that were -- the district court made.

13                  MR. COLFAX:      Well, so to start with, the

14      preliminary injunction order with or without the Second

15      Circuit -- with or without the Fourth Circuit wouldn't, of

16      course, be binding on you.           It would just be something --

17                  THE COURT:     I agree with that for sure.           So I'm

18      not suggesting either the stay or the district court's

19      binding on this Court.        But both sides have talked about

20      it so I'm trying to figure out the authority for the

21      position you articulate.

22                  MR. COLFAX:      Sure.      So our position is that if

23      you look at the evidence Judge Wooten reviewed and the

24      steps he took to come to that conclusion that race was in

25      the picture are persuasive.            And we will reintroduce and



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 1      talk again about those very same statements that were

 2      behind the original plan.         And we will present them to you

 3      as we have in our preliminary injunction and say, just as

 4      we persuaded Judge Wooten over ten years ago, these

 5      indicate that race was in the picture, right?                Our

 6      position is that so, too, should you conclude that race

 7      was in the picture based on those same statements.                 And

 8      that Judge Wooten's analysis is persuasive in that the

 9      Fourth Circuit didn't say he got it wrong.                Of course,

10      they didn't say he got it right.            All we know is they're

11      staying the preliminary injunction and we don't know why.

12                  THE COURT:     I've got you.       You would agree that

13      we have a different injunction standard in place in 2018

14      than we did back in that time period, correct?

15                  MR. COLFAX:      That may be right.          Though, again,

16      it's -- we're less of citing Judge Wooten for the

17      proposition that an injunction should issue as sort of the

18      alternate decision and more of, you know, see what he

19      looked at --

20                  THE COURT:     I appreciate that.

21                  MR. COLFAX:      -- and what his analysis was on

22      those subparts of the analysis.

23                  THE COURT:     I understand.       Thank you.

24                  MR. COLFAX:      Of course, our analysis doesn't

25      just look back to the past, the original creation of the



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 1      traffic loop.     I'm sorry this is a little bit small.

 2      Maybe I can get a little bigger on some of these.

 3                  THE COURT:     That's okay.

 4                  MR. COLFAX:      So these are more recent statements

 5      by city officials, all cited in our briefs, that show that

 6      the goal -- the concern maybe of the city is that there

 7      are bad people in town.        Warren Gall calls them, A bad

 8      element.

 9                  THE COURT:     Weren't most of these after 2014,

10      immediately after?

11                  MR. COLFAX:      Most of these were after, exactly.

12      Most of these were immediately after 2014, which is what

13      led to this traffic loop being in place.             So, really, if

14      you want to think about what were the city officials

15      thinking, it is what happened after 2014.                And I'll talk a

16      little bit about -- of course, the city makes a

17      significant deal out of the fact there was violence during

18      the 2014, but that doesn't make this -- doesn't justify

19      statements like we are going to squash that one next year.

20      This is a bad element.        You know, John Rhodes saying,

21      We're trying to move people outside of the city.                 And then

22      again, he says it again, We're trying to move people

23      outside the city limits of Myrtle Beach.

24                  All of these statements are, one, they're

25      characterizing the participants of Black Bike Week in this



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 1      way, that they're bad people.           Two, they are talking about

 2      trying to get these people outside of the City of Myrtle

 3      Beach.   And very similar to the statements that were made

 4      back in -- when the original plan was put in place, right,

 5      we have a bad element that we want to keep out of Myrtle

 6      Beach.

 7                  And it's worthwhile thinking back to what Chief

 8      Brown talked about in his declaration, what Chief Williams

 9      will talk about in his testimony, that the behavior of the

10      individuals that are in town for Black Bike Week is not

11      particularly dissimilar from the behavior during Harley

12      Week or other events during the year.             So other than the

13      nature, right, the race of the participants, there's no

14      real explanation for why the city officials are

15      characterizing this group of people during Black Bike Week

16      in the way they are.

17                  Now, courts typically often look at -- when you

18      have municipal decision makers making decisions, the court

19      wants to look at what's happening around, what are the

20      influences, are they capitulating to what's happening and

21      what others are saying?        And the statements by the public

22      are even stronger than the city officials, maybe there's a

23      little bit less of a screen, right, talking about biker

24      trash, a thug fest.       And it goes on that they're trying

25      to, you know, make sure that, you know, they don't come



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 1      into town and act like a bunch of animals and so forth.

 2                  So again, putting the city officials' decision

 3      in context with all of these comments that are coming to

 4      them -- and these comments as we talk about in our brief,

 5      right, are being forwarded to city council.              They may come

 6      to the public information officer.            They're being

 7      forwarded to city council for consideration.               The city

 8      information officer is engaging with these people --

 9                  THE COURT:     I read those emails in the

10      submissions.

11                  MR. COLFAX:      So the statements go on.         So that's

12      the history in which we have to judge this decision to put

13      the traffic plan into place.

14                  Another factor that's looked at under Arlington

15      Heights is is there a departure from the normal

16      procedures?      And what we see is that there was, you know,

17      essentially, a very -- there is a rush to a decision to

18      put the traffic plan into place and there was no real

19      process at all.

20                  Apparently, there was a summit that was held.

21      But there was no, you know, analysis of what was needed to

22      address, whatever issues the city was trying to address,

23      how a traffic plan at all would address those issues, and

24      how this traffic plan in particular would address those

25      issues, right?      No data, no analysis.         A citation to a



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 1      Federal Highways Administration manual that talks about

 2      national level events when you have a visiting

 3      international dignitary or the Superbowl.                They don't

 4      even -- aren't even citing to the manual that's in place

 5      that talks about motorcycle rallies specifically and the

 6      types of information you would review and the type of

 7      analysis you would do before implementing a traffic plan

 8      like this.

 9                   And then on top of that, it's three years now,

10      right?    We have three years of experience with the traffic

11      plan.    And again, you don't see anywhere in the city's

12      briefing anything about an analysis they did during the

13      events, try to collect data, try to figure out is this

14      working, right?      Instead, they just assume, if the one-way

15      happens and the loop happens, that's good enough.                 We've

16      been successful.      And then, finally, even after the events

17      have concluded, they haven't gone back to determine is

18      there -- is this actually achieving the goals we're trying

19      to achieve?

20                   So you have a departure from the procedures we

21      would expect.     You have it disproportionately affecting

22      African-Americans.       And you have a history of comments

23      that are codes for -- or at least suggestive of

24      discrimination being in the picture.

25                   So those are sufficient at this stage here on



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 1      preliminary injunction to conclude, yes, there is a

 2      likelihood of success on the equal protection claim.

 3                  Similarly, on the First Amendment, there are

 4      three elements you have to prove for a First Amendment

 5      claim.    Plaintiff's actions constitute speech, defendant's

 6      actions infringe on that speech, and it's not narrowly

 7      tailored to accomplish some compelling state of interest.

 8                  There's really not a lot of dispute on the first

 9      prong, the plaintiff's action constituted speech.                We have

10      submitted substantial number of declarations about how

11      people are coming into town to celebrate their black

12      culture and motorcycles.         And this event is sponsored by

13      and put together by Atlantic Beach, historically

14      African-American town, and very purposefully inviting

15      African-Americans with their motorcycles to come into town

16      and celebrate that culture.            And that's what happens.

17                  So I won't go through all the declarations.               I

18      have some of them pulled out here, but they're all cited

19      in the brief.

20                  THE COURT:     I've read those and I appreciate

21      that.    You're welcome to go through them, but I just want

22      you to understand as you decide how to use your time, I

23      have read them.      But feel free to point out anything you

24      want to point out.

25                  MR. COLFAX:      I don't want to point out anything



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 1      other than there's a theme, right, of black culture and

 2      motorcycle culture.       And it's very different from the

 3      cases cited by the defendants, right?             The cases cited by

 4      defendants, Shank, American Motors Association, they

 5      relate to motorcycles, but there's no expression, right?

 6      It's people wanting to ride in a park, right?               There's a

 7      ban on being able to ride in the park, they want to ride

 8      their motorcycles in a park.           Not that they're gathering

 9      for any particular purpose, they're just riding in the

10      park.

11                  Another case involves riding a motorcycle

12      without a helmet, right?         A challenge to those laws saying

13      that interferes with -- infringes on my First Amendment

14      rights.   But again, there's no expression of anything.

15                  THE COURT:     Is there anything -- one thing I --

16      I can't recall, was there a particular event in Myrtle

17      Beach where -- that the celebration or expression of that

18      culture was particularly pronounced?            Or is it your

19      position that it's the whole weekend is geared toward that

20      as one of its things?

21                  MR. COLFAX:      It is really the whole weekend.

22      And that's what it's advertised about and that's the

23      concept behind it.       Let's come and sort of celebrate the

24      fact we're black motorcyclists.

25                  THE COURT:     Did you submit -- I remember one



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 1      document that I recall that sounded a little bit like a

 2      summary.    I can't remember the year.          You mentioned

 3      advertising.     And I don't recall advertising related to

 4      the event on that point.         I think there was one document,

 5      but I can't really recall exactly what it was.

 6                  MR. COLFAX:      Right, I don't think there is any

 7      sort of advertising submitted on that point.               It's much

 8      more of the participants themselves talking about why

 9      they're coming.

10                  THE COURT:     Okay.       All right.   Thank you.

11                  MR. COLFAX:      And the point of it.

12                  So then once you have expressive activity, the

13      question is do the defendants' actions infringe upon that

14      activity?     And again, we go back through the stories.

15      There are ample stories of how difficult it is to move

16      around with the ultimate result being I'm not coming,

17      right?     So people are discouraged from even coming.              And

18      what you see from some of those comments that I brought up

19      in the context of race discrimination is we want to get

20      these people out of town.          That's what the city officials

21      are saying, which, of course, interferes with their

22      ability to express themselves.

23                  So for both equal protection and the First

24      Amendment, once you establish that, the substance of it,

25      then the question becomes is there some compelling state



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 1      interest that this traffic plan can achieve and is

 2      narrowly tailored to achieve that goal?

 3                  So there are different concepts that have been

 4      brought up by the city about why we have the traffic plan.

 5      And one theme that comes up over and over again is that we

 6      want to keep traffic moving.           Right?    Our compelling state

 7      interest is keep traffic moving.            It limits the

 8      interaction between the motorists and pedestrians and so

 9      forth.    And obviously, we can all agree that everybody is

10      in a better mood when they're not sitting in traffic and

11      traffic is moving.       So plaintiffs have no quarrel with

12      that concept, to keep traffic moving.

13                  So you see it in, you know, the city's

14      ordinances.      They talk about keep the traffic moving.

15      Chief Prock, who I understand we'll here from later today,

16      says that when they held this summit, that they brought in

17      folks from other jurisdictions, talked about Black Bike

18      Week and what they should do, she says, and this is the

19      bottom quote here, The consensus was that to improve

20      public safety, we have to keep pedestrians and vehicular

21      traffic moving at all times.           Fine.    But it doesn't do

22      that.    And after three years, it is more than apparent

23      that this one-way plan and the traffic loop has exactly

24      the opposite effect of keeping traffic moving.

25                  You can go back and think about the loop.               The



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 1      travel times that Dr. Clarke measured, people are sitting

 2      on Ocean Boulevard for hours.            Every single one of the

 3      declarations at some point, whether it's our declarations

 4      or even defendant's declarations, people who were in

 5      Myrtle Beach say traffic congestion is a nightmare and we

 6      all sit there affected by the loop.             So if the goal is to

 7      keep traffic moving, that's not the solution.                 That's not

 8      the way to achieve it.

 9                   Another goal that they talk about is violence.

10      And in 2014, there were shootings.             Okay.      It happened

11      inside and outside a hotel on Ocean Boulevard, the primary

12      shootings.       And you know, the vast majority of what the

13      city talks about when they say -- when you ask why this

14      plan, they talk about that violence.             So there are a

15      number of problems with that with the linkage.

16                   First, as an initial matter, of course,

17      plaintiffs don't dispute the City of Myrtle Beach has an

18      interest in preserving public safety, and preventing

19      violence like what happened in 2014 is critical.                  But

20      there's no linkage between that type of violence and this

21      traffic plan.       There's no analysis, no data, no expert

22      testimony of saying you put in a traffic plan like that,

23      you're going to reduce violence.             So there's no linkage

24      between the two.       And the city's own data that they

25      submitted with their brief establishes that there really



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 1      is no linkage.

 2                  So we have the data of serious crimes reported.

 3      This is all that the city has given us related to any

 4      analysis of crimes.       So it goes back to 2007.          And yes,

 5      you can see it goes up and down.            But two of the lowest

 6      years are 2010, 2009 -- or 2011.            2011, there was no

 7      traffic plan in place.        There is a little bit of spike in

 8      2014.    But then they put the traffic plan in place and it

 9      doesn't drop significantly at all.            In fact, it stays

10      almost as high as any level it's ever been in Myrtle

11      Beach.

12                  So again, even if you thought back in 2015,

13      let's put in a traffic plan, that will help reduce

14      violence and crime, but then you see these numbers come in

15      and see nothing's changing, there's no significant change,

16      then why the traffic plan?

17                  And, you know, the same analysis can be done of

18      other things that they cite, right?            They talk about

19      response times.      Again, they fluctuate a little bit, but

20      they're relatively small changes from year to year.

21      Response times from Horry County, the same.              Traffic

22      accidents, again, a spike in 2014, but the measure of what

23      happened before the traffic loop and after the traffic

24      loop is relatively similar.

25                  So the key is the city has to say -- articulate



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 1      their compelling state interest and show how this traffic

 2      plan is narrowly tailored to it.            And what the evidence

 3      clearly establishes is that there's no linkage, let alone

 4      a narrowly tailored linkage between the two.

 5                  THE COURT:     On that point, do they have to --

 6      I'm trying to ask you if their -- if the question on

 7      narrowly tailored depends on effectiveness.              I appreciate

 8      your position.      And one way of arguing that is that the

 9      measures taken aren't effective relative to the goals

10      pronounced.      Does that mean by definition that it's not

11      narrowly tailored?       Or can they be -- I'm not saying they

12      are, I know you have a different position.               But if they're

13      doing their best to address those things and they simply

14      don't do it as well as they could, does that equal, you

15      know, absence of being narrowly tailored?

16                  MR. COLFAX:       I think there's a two-part answer.

17      There are two ways the city could have done this.                Before

18      the traffic plan, they could have come in with a true

19      comprehensive analysis and described this is how a traffic

20      plan could deal with this issue we see during Black Bike

21      Week or any other weekend.         We did the analysis, but we

22      don't see that.      Right?     So there was no before-the-fact

23      analysis.

24                  THE COURT:     Okay.

25                  MR. COLFAX:       And so I think that if you had that



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 1      and you could put on a persuasive case, you know what, a

 2      traffic plan could, you know, in the abstract could really

 3      achieve this compelling state interest, then I think

 4      you're -- for at least some time, I think you're point is

 5      correct.

 6                  But then even if you had done that, you're in

 7      your now fourth year and you say, you know what, our

 8      expert said this was going to work, but nothing is

 9      happening, no change has been made.            Then at some point,

10      you have to say, this is not working, right?               Even though

11      we thought it was narrowly tailored to address the issue,

12      it's not because it's not actually having the predicted

13      effect.

14                  So really, they fail at both ends.             They didn't

15      do the analysis at the beginning.            And there is no --

16      nothing from the results that suggest that it's actually

17      working.

18                  All right.     So I'm probably using more time than

19      I had anticipated.

20                  THE COURT:     No, and I've interrupted you some.

21      But I mean, you're right at about 35 minutes to do -- to

22      complete doing testimony and cross-examine.

23                  MR. COLFAX:      Exactly.

24                  THE COURT:     And I won't hold you to some of that

25      because I've interrupted some, but just realize that time



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 1      period.

 2                  MR. COLFAX:      Well, I think what I will do now is

 3      to stop.    I've gone through the substance.             Of course,

 4      there's irreparable harm, balance of the equities, and

 5      public interest.      But I think a lot of those ride from do

 6      you have a constitutional violation.            So the first part is

 7      the key.

 8                  THE COURT:     Right.

 9                  MR. COLFAX:      And we'll have my colleagues call

10      our first witness and we'll go from there.

11                  THE COURT:     That's fine.       And I've read those

12      parts of the brief as I mentioned earlier, so it's not

13      like we won't consider what you've already put forth on

14      that.

15                  MR. COLFAX:      Thank you.

16                  THE COURT:     So the plaintiff is going to call a

17      witness?

18                  MS. RAMCHANDANI:        Yeah, good afternoon.        We're

19      going to have Chief Williams to the stand.

20                  THE CLERK:     Chief Williams, please step forward

21      and be sworn, sir.       Raise your right hand to be sworn.

22                  WILLIE WILLIAMS, after being duly sworn,

23      testified as follows:

24                  THE WITNESS:      I do.

25                  THE CLERK:     Thank you, sir.        And I forgot to ask



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 1      you to state your name for the record.

 2                    THE WITNESS:     Willie Williams.

 3                    THE CLERK:     Thank you, sir.

 4                                 DIRECT EXAMINATION

 5      BY MS. RAMCHANDANI

 6      Q     Good afternoon, Chief Williams.

 7      A     Good afternoon.        How are you?

 8      Q     Could you tell us what your current occupation is?

 9      A     Repeat.

10      Q     Your current occupation?

11      A     Okay. Thank you.        I currently serve as the interim

12      police chief of the City of Rocky Mount.

13      Q     And how long have you been doing that for?

14      A     I was hired and began my career there a second time

15      on December 12th, 2017.

16      Q     Okay.      Have you ever served as a chief of police in

17      any other jurisdiction?

18      A     I have.

19      Q     Where was that?

20      A     I served three and a half years with the Petersburg

21      Police Department as chief of police.              I got recruited to

22      my home town in Wilson, North Carolina, and I served there

23      three -- six and a half years.            And then I later got

24      recruited to North Carolina Central University for six

25      years.



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 1      Q     So about how many total years of police chief

 2      experience?

 3      A     About 15 total as police chief.

 4      Q     And how many total years do you have as -- in law

 5      enforcement?

 6      A     I have about 40 years in law enforcement totally.

 7      Q     Okay.      And are you familiar with the two motorcycle

 8      rallies that occur in Myrtle Beach every year, Harley Week

 9      and Black Bike Week?

10      A     I am.

11      Q     And how many times have you attended each event?

12      A     I attended the first two rallies in 1999.               And I

13      think I have missed two times that I was unable to attend,

14      with 2014 being the year that I was unable to attend the

15      rally.     And then in 2017, I was unable to attend the Black

16      Bikers Rally.

17      Q     So in 2017, you attended Harley Week; is that

18      correct?

19      A     That's correct.

20      Q     And 2015 and 2016, you were at both events?

21      A     Yes.

22      Q     Chief Williams, in your opinion, is there any

23      difference between the groups attending Harley Week and

24      Black Bike Week that would justify the difference in

25      treatment in terms of the traffic management plan?



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 1      A     Certainly, you have different behaviors.               You have

 2      two different groups, two cultures and others.                But we

 3      have not seen anything that will necessitate or warrant a

 4      different pattern or, in some cases, even a pattern,

 5      traffic pattern.

 6      Q     And have you observed any differences in the crowds

 7      between Harley Week and Black Bike Week in terms of the

 8      aggressiveness of the crowd?

 9      A     It's different, but it's very, very similar in that

10      they're all doing pretty much the same thing, here for a

11      good time.       And they all do basically the same thing.

12      Q     And what about any differences in terms of tendencies

13      towards violent behavior between the two crowds?

14      A     You said --

15      Q     Have you noticed any difference in terms of a

16      tendency towards violent behavior between the two crowds,

17      between Harley Week and Black Bike Week?

18      A     Nothing that would warrant any difference in pattern.

19      Q     And have you observed any differences in the behavior

20      of the crowds attending Harley Week versus Black Bike Week

21      that would explain why the Black Bike Week traffic pattern

22      that's currently in place is necessary?

23      A     I have not seen one -- I have not seen anything

24      that's so criminal in nature that would warrant this kind

25      of pattern that we see here today.             And in some instances,



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 1      I have not seen a need for a pattern.

 2      Q     And in your opinion, in your experience in law

 3      enforcement, is the traffic plan that's used during Black

 4      Bike Week right now from 2015 onwards an effective way to

 5      respond to violence?

 6      A     Well, I certainly cannot see any correlation between

 7      the violent two murders that they -- that we talked about

 8      earlier being related to a traffic pattern.              As we all

 9      know that murders can take place any place because usually

10      murders are done by heat of passion, hit job, or domestic.

11      So it can be any place.        So I have not seen any

12      correlation between the murders and a traffic pattern.

13      Q     And is the traffic pattern in your opinion an

14      effective way to respond to an incident of violence?

15      A     Not in my opinion.

16      Q     Does the traffic plan that's in place right now help

17      to keep traffic moving efficiently through the city?

18      A     Well, that is -- the purpose of a traffic pattern is

19      to keep the traffic moving.            But the traffic pattern that

20      we have here is so widespread, it does very little to keep

21      the traffic moving.       As a matter of fact, in 2016, my

22      partner and myself got on the pattern and we were there a

23      little better than two hours and we only went about two

24      miles.   And a reporter also reported similar figures.                So

25      you can sort of calculate that and show that if you're



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 1      going that distance in such a long time that you're not

 2      moving very quickly.

 3      Q     Okay.      So as I understand, the traffic pattern is not

 4      helping to keep traffic moving efficiently?

 5      A     It does not.

 6      Q     And if you were responsible for traffic management

 7      and law enforcement for Black Bike Week, how would you

 8      approach some traffic control for that weekend in Myrtle

 9      Beach?

10      A     Well, you have to look at each situation differently.

11      But if I were to prepare a plan for Myrtle Beach, I

12      certainly would use a flush-out-type plan where you

13      control your flow of traffic with law enforcement,

14      signaling, and those kind of things.             It is a plan that

15      you sort of put in place before, the day or two before

16      your event, and you assign personnel to a designated

17      place.     And that person -- whenever your traffic builds up

18      where you want to move it out, you ask the officers to go

19      to their designated place and pull the traffic out.                   And

20      you move the traffic as quickly as you want to or as slow

21      as you want to.       And then you move it out as long as you

22      need to.

23            So something like that would work.             It would keep the

24      traffic flushed out and you control it based on your

25      personnel or how often you want to pull it out.                It's



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 1      controlled by a commander of that agency.

 2      Q     And is that a strategy that you would suggest also

 3      employing for Harley Week?

 4      A     For?

 5      Q     For Harley Week?

 6      A     Well, I don't know if I'm convinced -- well, I know

 7      I'm not convinced that we need any kind of plan.                But

 8      certainly, if I use one plan, based on the two parties,

 9      the two groups coming, I would use similar plans.

10      Q     And just so I understand the flush-out plan, the

11      flush-out methods of traffic control that your suggesting,

12      do they allow for flexibility in terms of how you employ

13      them in real time for traffic conditions?

14      A     Absolutely.     Absolutely.

15      Q     So there's no predetermined sort of requirement of

16      what -- having to use it, you know, in any given time.

17      You can decide what traffic conditions are like; is that

18      right?

19      A     Only predetermined thing that you would have to have

20      is a commander and some type of plan before you get

21      started.     But a commander out there making the decision as

22      to when it's time to pull the traffic out.               And everybody

23      would know when he makes that call to go to a designated

24      place and pull the traffic through.

25      Q     And you would not put a loop in for either weekend if



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 1      you were making the decision?

 2      A     If I'm making this decision alone, I would not use a

 3      designated traffic plan.         I would use the flush out, which

 4      is a form of a plan, but certainly not a designated plan.

 5      Q     If you would compare having the flush out as an

 6      option versus the traffic plan that's currently in place,

 7      which plan do you think gives you more flexibility?

 8      A     The flush-out plan.        It's very flexible, plus

 9      effective.

10      Q     Have you ever attended any other bike festivals that

11      are similar to Black Bike Week?

12      A     I did.     I think in maybe 2003, '4, somewhere there, I

13      attended the festival down in Galveston, Texas.               And I had

14      a chance while I was there to look at this plan.                And this

15      is what sold me on the plan when I saw how it was used

16      there.

17      Q     When you say this plan, are you referring to the

18      flush out?

19      A     Yes, the flush-out plan.

20      Q     So when you were observing in Galveston, did you see

21      anything that was similar to the loop that gets put in

22      place or the traffic plan that gets put in during Black

23      Bike Week?

24      A     Well, when I went in 2002 or '3, I can't remember,

25      but when I went, they used a traffic flush out as the only



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 1      type of plan they used.         It was similar in nature with a

 2      number of people attending, but they used the flush out

 3      when the traffic built up.          And that was the only plan

 4      that they used at that time.

 5      Q     And the event that you observed in Galveston in 2003

 6      or 2004, is it similar in nature to what you now see

 7      during Black Bike Week in 2015, 2016?

 8      A     It is, a lot of traffic.

 9      Q     And in your experience, have you ever seen a traffic

10      plan or loop like the one that's used over Black Bike Week

11      in Myrtle Beach?

12      A     Well, we have pretty much had a traffic plan for

13      Black Bike Week since I began my career down here, for my

14      time, it seemed like a career.            But we have had a pattern

15      each year since I've been coming.

16      Q     And have you ever -- the one that's now been used

17      since 2015, have you ever seen anything similar to that in

18      any other jurisdiction?

19      A     Have not.

20      Q     Okay.      Have you attended any other weekends or

21      festivals in Myrtle Beach that attract a large crowd?

22      A     I have.      I used to attend the Sun Fun Festival.             I

23      attended the July 4th week celebration.              And then years

24      ago, Myrtle Beach used to have a fall Harley Davidson

25      rally.   I used to attend that rally as well.



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 1      Q     And do any of those events result in a similar

 2      atmosphere to Black Bike Week?

 3      A     Similar atmosphere with a lot of people, but no

 4      traffic pattern.

 5      Q     And so the city does not put a traffic pattern in

 6      place for those weekends similar to the ones they use in

 7      Black Bike Week; is that correct?

 8      A     Yes.

 9      Q     Okay.

10                    MS. RAMCHANDANI:     Thank you very much, Chief

11      Williams.

12                    MR. MICHAEL BATTLE:       Just briefly.

13                    THE COURT:    Let me just kind of get my bearings

14      straight on the times.

15                    You can proceed.     Thank you.

16                                 CROSS-EXAMINATION

17      BY MR. MICHAEL BATTLE

18      Q     Chief Williams --

19      A     Yes.

20      Q     -- I've heard you talk about plans in what you would

21      do, but I haven't heard you mention anything about the

22      plan you actually prepared and submitted to the Bikefest

23      Task Force.      Could you tell us a little bit about that?

24      A     That is the flush-out plan that I alluded to.

25      Q     That plan also had a loop in it, too, didn't it?



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 1      A     It had a -- not a loop, but it had a small pattern in

 2      it as well.

 3      Q     It had a one-way loop you just used --

 4      A     It did.    It did.

 5      Q     So you had a loop and one-way traffic on Ocean

 6      Boulevard in the plan that they have not presented that

 7      you actually prepared; is that correct?

 8      A     Absolutely, I did.       Let me share with you about that.

 9      It was done by design.        I'd rather not have a traffic

10      pattern at all.      But I knew going into that committee,

11      going before that committee that I could not write a plan

12      that would eliminate a pattern in there at all.                So I was

13      hoping that we would -- could compromise and I could come

14      out with some type of difference in the plan.                It was not

15      that I preferred a plan, because I don't.                But it was my

16      thinking that maybe we can get that part implemented

17      rather than to cut all patterns out.

18      Q     So you're saying that something is needed, but you

19      would prefer nothing be done?

20      A     No.   I prefer, at least, a compromise and that's my

21      compromise.

22      Q     I understand.      Now, with regard to your plan, it was

23      submitted to the Bikefest Task Force, was it not?

24      A     It was.

25      Q     Haven't heard that mentioned by your side yet.                 Who



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 1      are they?

 2      A      What do you mean they?

 3      Q      What organization is the Bikefest Task Force?

 4      A      It is the task force that coordinates the festival.

 5      Q      And it was the Bikefest Task Force that rejected your

 6      plan; is that not correct?

 7      A      Some of them rejected it.

 8      Q      Well, weren't you told by the Bikefest Task Force

 9      that this plan is not acceptable?

10      A      I got no results from the -- from that committee.                   I

11      have not heard anything about it from the committee.

12      Q      Did you ask?

13      A      I did not ask them.

14                   MR. MICHAEL BATTLE:        Thank you.       No further

15      questions.

16                   MS. RAMCHANDANI:      Nothing further from the

17      plaintiff.

18                   Chief Williams, step down.

19                   THE COURT:     Thank you, Chief Williams.

20                   MS. ARANDES:     Plaintiffs call their next

21      witness, Dr. David Clarke.

22                   THE CLERK:     Please step forward to be sworn in,

23      sir.   Would you state your name for the record, sir?

24                   THE WITNESS:     David Bruce Clarke.

25                   THE CLERK:     Thank you.      Please raise your right



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 1      hand to be sworn.

 2                  DAVID CLARKE, after being duly sworn, testified

 3      as follows:

 4                  THE WITNESS:      I do.

 5                  THE CLERK:     Thank you, please take a seat.

 6                  THE WITNESS:      You want me to test this and make

 7      sure it's not too loud?

 8                  THE CLERK:     Sir, you can adjust that.          Yes, sir.

 9                               DIRECT EXAMINATION

10      BY MS. ARANDES

11      Q     Good afternoon.

12      A     Good afternoon.

13      Q     What is your area of study?

14      A     I'm a civil engineer by training and my specialty

15      area is in transportation engineering.

16      Q     And how long have you been working in transportation

17      engineering?

18      A     Well, I'm going on to probably between 36 and 37

19      years at this point.

20      Q     What degrees do you hold?

21      A     I have a Bachelor's Degree in Civil Engineering,

22      Master's Degree in Civil Engineering, and a Ph.D. in Civil

23      Engineering.     And all those focused on transportation.

24      Q     And where are you currently employed?

25      A     I work at the University of Tennessee in Knoxville.



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 1      And it's just a different kind of orange from what we have

 2      here.     And I direct the Center for Transportation Research

 3      and also have an appointment in the Civil Environmental

 4      Engineering Department as a Research Faculty Member.

 5      Q       Approximately how many times have you testified at a

 6      trial as an expert in transportation engineering?

 7      A       At least six, probably seven times in court.

 8      Q       Did you submit an expert report related to traffic

 9      engineering in an earlier litigation regarding the

10      motorcycle rallies in Myrtle Beach referred to as Harley

11      Week and Black Bike Week?

12      A       Yes, I did.

13      Q       Generally, what was the scope of your expert work in

14      that case?

15      A       It was to look at the Harley event and the Black Bike

16      Week event for a particular year and observe how the

17      traffic flowed during those events, evaluate by collecting

18      data and other evidence to document differences in the

19      traffic flow from one week to the next.

20      Q       And generally, what were your conclusions?

21      A       Generally, my conclusions were that the two events

22      appeared to be similar in size and nature.               But that the

23      traffic arrangements during Black Bike Week, which were

24      different at that time from Harley Week, although, again,

25      different now than they were then, resulted in a poorer



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 1      level of performance, at least along Ocean Boulevard and

 2      the immediate streets in the area of Ocean Boulevard,

 3      during Black Bike Week.

 4      Q     And did you have an opinion about the results of the

 5      plan implemented in Black Bike Week at that time?

 6      A     I'm sure I did have opinions.           It seemed to me, if I

 7      recall, and it's been a good many years ago, that the

 8      traffic pattern for Black Bike Week generally resulted in

 9      a lower level of service along Ocean Boulevard than the

10      plan or the traffic arrangements that were in effect for

11      Harley Week.

12      Q     So what was the scope of your work with respect to

13      Black Bike Week and Harley Week in 2017?

14      A     It was similar to, again, come and observe.               Although

15      I was not able to make the Harley Week last year, I sent a

16      team down that carried out at my direction certain

17      measurements and observations.           And we evaluated, again,

18      the traffic flows for those two events with Harley Week

19      actually not having much different traffic pattern than is

20      the norm.    But as we discussed, Black Bike Week having the

21      one-way traffic limitation and the loop at nighttime

22      hours.

23      Q     Other than going down to Myrtle Beach and sending

24      your team down to Myrtle Beach and reviewing traffic

25      patterns during those weekends, did you review anything



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 1      else as part of your work evaluating the plans?

 2      A       Yes, I did.     I reviewed the plan that Myrtle Beach

 3      had put into place for Black Bike Week and also looked at

 4      various documents that they produced, an after-action

 5      report, for example, for last year's event.                And I believe

 6      the preceding years as well.

 7      Q       Generally, do you think that the City of Myrtle Beach

 8      has complied with national norms for traffic management in

 9      creating and implementing a traffic plan during Black Bike

10      Week?

11      A       No.    Actually, I don't see much evidence that there's

12      a real formal traffic planning process that has gone into

13      place, at least as far as what we classically would do.

14      For example, there's no real evidence of any data being

15      collected on either event regarding the patterns of

16      demand, the patterns of travel within the area, the times

17      on which a plan would have to be based.               And no evidence

18      that there were any alternatives examined to look at

19      optimizing the flow of traffic during either event, to be

20      frank.        And certainly, there's not been any evidence there

21      was any followup to determine whether the plans actually

22      did help traffic to move.

23      Q       And just to be clear, is it standard practice to --

24      as part of planning a traffic plan for a planned special

25      event to collect data beforehand, analyze it, collect data



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 1      during the event, and then analyze that data afterwards?

 2      Is that all part of the standard practices?

 3      A     Yes, it is, those are all normal planning

 4      methodologies.     They're documented in various manuals that

 5      have been produced by different agencies about how to deal

 6      with special events.       And, you know, you have to have a

 7      basis upon which to develop a plan, to identify where the

 8      traffic problems are likely to be.            Then you have to

 9      develop various alternative methodologies to address those

10      issues, determine which ones appear to work the best.

11      During the event as it unfolds, collect data to determine

12      whether or not the plan actually is doing what it's

13      supposed to be doing, and how to followup after the event

14      to look at fine tuning the plan, scrapping it, revising

15      it, or whatever.      This feedback does not appear to be

16      present in what's going on over the past few years.

17      Q     To the extent the city has a goal of facilitating

18      traffic flow during Black Bike Week, do you have an

19      opinion about whether the traffic plan that they're using

20      is meeting that goal?

21      A     My observations were that during Black Bike Week, the

22      traffic patterns, at least regarding Ocean Boulevard, the

23      traffic flow was terrible.         I mean, level service F is

24      what we generally have as our lowest grade for traffic and

25      this would probably be an F minus minus.



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 1      Q     To the extent that the city has a goal of decreasing

 2      violence during Black Bike Week, are you aware of any data

 3      or reason to think that a traffic plan would be effective

 4      in preventing incidents of violence?

 5      A     That's a really interesting research area.              I don't

 6      see anything in the practitioner's literature that

 7      correlates random violence with traffic patterns.                Not to

 8      say that, perhaps, if we funded a national study, we might

 9      uncover something, but we certainly have no guidance right

10      now how the two are interrelated.

11      Q     Did you review the after-action reports prepared by

12      the City of Myrtle Beach after Black Bike Week in recent

13      years?

14      A     I did.

15      Q     Do any of those after-action reports discuss or

16      analyze any traffic-related issues?

17      A     They appeared to focus almost exclusively on the

18      deployment aspects and the law enforcement aspects of what

19      went on down there.       There was scarcely any mention of

20      traffic behavior at all.

21      Q     Did you review data produced by the city regarding

22      police and fire department response times, motor vehicle

23      accidents, and crimes reported during Memorial Day Weekend

24      during the last several years?

25      A     I did.



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 1      Q     Do you have any opinions about that data?

 2      A     I believe Mr. Colfax's opinions were very well put.

 3      I could not discern any cause and effect relationship in

 4      the data that were presented.           There were ups and downs.

 5      They did not necessarily correlate with the traffic plans

 6      that were in effect in a way that you would expect them

 7      to.   And so to my way of examining those, it did not show

 8      any true trend that would be defendable.

 9      Q     What was your overall impression of the traffic plan

10      put in place for Black Bike Week?

11      A     That the plan aggravated the traffic flow.              It

12      degraded it.     It did not help it in any way that I could

13      discern.    And in effect, it almost discouraged you from

14      traveling rather than assisting you in moving more

15      expeditiously along Ocean Boulevard.

16      Q     What were the traffic conditions along Ocean

17      Boulevard when it was narrowed to a single lane during

18      Black Bike Week?

19      A     The traffic speed overall was very low.              In fact,

20      walking, you could generally make better time than in a

21      vehicle.    It was extremely -- in traffic terms, we say

22      it's unstable traffic flow, stop and start.              If anybody

23      paused, then traffic behind them would rapidly bunch up.

24      And it just generally was a very poor flow.

25      Q     And what about the traffic conditions along Ocean



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 1      Boulevard during the hours when the loop was in place

 2      during Black Bike Week?

 3      A       The same at best, much worse in general.

 4      Q       In a situation where traffic has been forced to move

 5      in a single direction and the majority of the

 6      cross-streets are closed, do you have an opinion on best

 7      practices with respect to traffic signals along that road?

 8      A       In any situation like this where we have extremely

 9      heavy traffic demand, the traffic signals are generally

10      not well able to deal with the traffic.             And our normal

11      recommendation is to put the traffic signals on flashing

12      and have the police officers direct traffic.

13      Q       Based on your observations and the observations of

14      your team, do you believe that was done during Black Bike

15      Week?

16      A       Not that I could tell.

17      Q       Do you believe that the traffic plan used during

18      Black Bike Week facilitates the flow of traffic?

19      A       No.

20      Q       What can you conclude about the traffic restrictions

21      put in place during Black Bike Week?

22      A       They did not materially help traffic move along Ocean

23      Boulevard in the best possible fashion, which is generally

24      what you try to do with a plan, is make things as good as

25      they can be.



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 1      Q       What traffic restrictions did your team observe on

 2      Ocean Boulevard during Harley Week in 2017?

 3      A       I don't recall anybody indicating they saw any

 4      restrictions on traffic.

 5                    THE COURT:     Let me -- counselor, just let me

 6      stop you, not anything related to testimony.

 7                    MS. ARANDES:     Did I run out?

 8                    THE COURT:     You're okay.     You've got a little

 9      more time, but I'm thinking about Ms. Martin who has been

10      going a while.      Are you near the end?         Are you -- on the

11      clock, you've got, you know, less than ten minutes.                  But

12      I'm not going to, you know, stop immediately.               But if

13      you're going to be -- I'm trying to decide whether we need

14      to take a break.

15                    MS. ARANDES:     I've got about a minute and a

16      half.

17                    THE COURT:     Keep going.     Thank you very much.

18                    MS. ARANDES:     Okay.

19      Q       Was there a dedicated emergency lane on Ocean

20      Boulevard during Harley Week?

21      A       No, there was not.

22      Q       Was there a traffic loop imposed during Harley Week?

23      A       No.

24      Q       How did traffic perform during Harley Week as

25      compared to Black Bike Week?



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 1      A     Our measurements indicated the traffic flow was

 2      generally better both in terms of speed and in the number

 3      of vehicles.     Incidentally, we also saw more motorcycles

 4      on Ocean Boulevard during Harley Week.

 5      Q     Based on the observations and data gathered by you

 6      and your team, did you see any evidence that there were

 7      significantly different traffic demands on Ocean Boulevard

 8      during Black Bike Week and Harley Week?

 9      A     No, we've not been able to identify any differences

10      in the traffic demand.

11      Q     Did you see anything that would justify the

12      difference in magnitude between the plan used during

13      Harley Week and the plan used during Black Bike Week?

14      A     Again, no.

15      Q     Did you review any publicly available transportation

16      data that supports the conclusion that the demands between

17      the two weeks are similar?

18      A     We've started looking at the continuous count data

19      that SCDOT collects in and around Myrtle Beach area on

20      various major roads.       And thus far, from 2010 to date, the

21      traffic volumes are almost identical on both Harley Week

22      and Black Bike Week for the same days.

23                  MS. ARANDES:      All done.

24                  THE COURT:     Thank you very much.

25                  Mr. Battle?



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 1                  MR. MICHAEL BATTLE:         You want me to do my cross?

 2      I won't be long.

 3                  THE COURT:     Let's go ahead and deal with this,

 4      then we'll take a little break.

 5                               CROSS-EXAMINATION

 6      BY MR. MICHAEL BATTLE

 7      Q     Dr. Clarke, my name is Mike Battle.            And if I seem a

 8      little bit tense that's because that's my nature, not

 9      anything directed at anybody here.            Speaking of intent,

10      what is the intent of the Harley riders when they come to

11      Myrtle Beach?

12      A     Um, I'm not a Harley rider, so I can't put myself in

13      their shoes.     My understanding is they come to enjoy being

14      with their fellow Harley riders at Myrtle Beach and

15      attending various events and enjoying the amenities of the

16      beach.

17      Q     Would you be surprised to learn that the intent of

18      Harley riders is to get in and out of the city as quickly

19      as possible to go to the events that take place outside of

20      the city?

21      A     I've never done a study of that, so I'd have to take

22      your word for it.

23      Q     Have you ever heard of the boycott that the Harley

24      riders have done with the City of Myrtle Beach?

25      A     Was that over the helmet law?



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 1      Q     Not a dime in '09.

 2      A     I've heard about the helmet incident, but that came

 3      between my involvements with the rallies.

 4      Q     What is the intent and purpose of the riders on

 5      Memorial Day Weekend?

 6      A     I've not conducted a poll of the riders, so my

 7      impression is that they come also to enjoy the things that

 8      Myrtle Beach has to offer and the surrounding area of the

 9      strand.

10      Q     Now, you've heard your attorneys say that they come

11      for a social gathering.        That all they want is to open up

12      Ocean Boulevard and to do away with the loop so that they

13      can freely travel up and down Ocean Boulevard.               Would you

14      be surprised to learn that the intent of the riders for

15      Memorial Day Weekend are to congregate and, more or less,

16      cruise up and down Ocean Boulevard?

17      A     Could be.    I saw plenty of motorcyclists both

18      weekends on Ocean Boulevard.           So I'm interested in hearing

19      what you have to say, but I've not --

20      Q     I think you'll get to hear a lot of what I have to

21      say at some point in time because I've never taken your

22      deposition, have I?       I wasn't part of the original team

23      back --

24      A     I don't recall our ever meeting.

25      Q     I haven't had an opportunity, nor has my son had an



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 1      opportunity to explore the basis for your opinions or even

 2      cross-examine you except for this brief moment here?

 3      A     That would be my recollection, that we have not met

 4      before.

 5      Q     All right, sir.      And do you have a plan for Memorial

 6      Day Weekend?      Have you prepared a plan?

 7      A     Have I prepared a plan?

 8      Q     Yes, sir.

 9      A     A traffic plan?

10      Q     Yes.

11      A     Or a plan to come to Myrtle Beach?

12      Q     A plan, a traffic plan that you think would work for

13      Memorial Day Weekend?

14      A     Um, it would be interesting to have that opportunity

15      and I have some ideas I would like to try out, but I've

16      not been asked to prepare a plan for Myrtle Beach.

17      Q     And one of the reasons is you don't have enough data

18      and the statistics and all that sort of stuff that would

19      suit you to make a proper plan to make that event a

20      publically safe or public safety event?

21      A     Well, I'm not aware that any planner would differ

22      with my opinion on that.

23      Q     Agree.     You wouldn't -- wouldn't differ that there's

24      not enough evidence out there, not enough work being done

25      to determine whether or not the plan is proper?



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 1      A       Well, I'm not saying that work couldn't be done.

 2      Q       I know you're not saying, but what we're saying at

 3      this point, at this preliminary injunction stage where

 4      we're asking the judge to come in and take over a plan,

 5      there's not enough evidence for us to determine what plan

 6      should be in place?

 7      A       The best evidence we have is --

 8      Q       Would you agree with that?

 9      A       -- that the plan for Harley Week would work just as

10      well as the plan for Black Bike Week since the two events

11      are proportionally the same size.            And traffic demand is

12      largely based on the number of attendees, recognizing that

13      locations of certain events around the area can influence

14      that.     But Ocean Boulevard is a popular location for

15      people who come to Myrtle Beach.            So two events of similar

16      size, we should see a similar amount of traffic on Ocean

17      Boulevard.

18      Q       But you agree with me, do you not -- didn't you just

19      agree with me that you don't have enough data to make a

20      plan at this time that you would feel comfortable putting

21      in writing and signing your name to, putting your seal on?

22      A       I would feel very comfortable going with the Harley

23      plan for Black Bike Week based on what I know at this

24      time.

25      Q       You would?



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 1      A     I would.

 2      Q     And you don't need to know what the intent of the

 3      Harley bikers are and you don't know what the intent of

 4      the Memorial Day Weekend bikers are, where they want to

 5      go, how they want to travel from one point to another,

 6      what they want to do when they reach that point?                 If you

 7      don't know their destinations and their intent, how can

 8      you make a traffic plan?

 9      A     Well, it's a lot easier when we're just looking at

10      Ocean Boulevard, which is the main focus of the Black Bike

11      Week plan.       And a good many people go to and from

12      designations along Ocean Boulevard.             We know that.      A good

13      many of them like to ride the length of Ocean Boulevard

14      and then, perhaps, come back and ride it again.                And we

15      can calculate with a fair degree of reasonableness that

16      about the same number of people are going to do that

17      during Harley Week as they do during Black Bike Week.

18      Q     So your testimony today is that the no traffic

19      restrictions is the best way to deal with Memorial Day

20      Weekend?

21      A     Based on what I know right now, I see no reason to

22      have a separate plan during Black Bike Week.

23                   MR. MICHAEL BATTLE:         No further questions.

24      Thank you.

25                   MS. ARANDES:      Your Honor, we have no more



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 1      witnesses.

 2                   THE COURT:    Okay.       Thank you.

 3                   You may step down, Dr. Clarke.

 4                   We're going to take a five-minute break.             So if

 5      y'all could -- we'll be at ease for five minutes, come

 6      back, let's say, at 3:20 and we'll start then.

 7            (WHEREUPON, a short break was taken.)

 8                   THE COURT:    Be seated, please.

 9                   Mr. Battle?

10                   MR. MICHAEL BATTLE:         Thank you, Judge.

11                   THE COURT:    Yes, sir.

12                   MR. MICHAEL BATTLE:         And for the record, again,

13      my name is Mike Battle and I am the attorney for the City

14      of Myrtle Beach.      And we're here on the NAACP vs. The City

15      of Myrtle Beach.

16                   What I want to do is give you an introduction of

17      what I'm going to tell you.            And I'll just proceed in how

18      this talk is going to go.          And then at the end, we'll call

19      two witnesses.

20                   I'll give you a summary of the case.            I'm going

21      to tell you what I view the purpose of preliminary

22      injunction is as a remedy.         I'm going to give you an

23      argument as to why I do not think a preliminary injunction

24      is appropriate at this point.            And I'm going to talk about

25      what the status quo really is at this time.



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 1                   Of course, we'll have witnesses who will -- and

 2      I want to call witnesses to demonstrate the amount of

 3      preparation, planning, and work that we have already put

 4      into the 2018 Memorial Day Weekend.             And we want to show

 5      that it is a major public safety event that is complex,

 6      and the comprehensive knowledge that has been accumulated

 7      over 20 years of working with this particular event, and

 8      the reasons why the traffic plan and the loop are

 9      necessary.       I want to cover all those topics.

10                   First thing I want to talk about, what is the

11      event we're talking about?          We have two very different

12      opinions and views of what this event is.

13                   You have the plaintiff's view, which is this is

14      a social gathering for unity and meeting with friends and

15      catching up with one another.            They say it is an event

16      that is sponsored by Atlantic Beach.             It's not sponsored

17      by the City of Myrtle Beach.            And it's not supposed take

18      place in the City of Myrtle Beach.             But for them, it's a

19      place for them to come and cruise up and down Ocean

20      Boulevard.

21                   For the city, we have an entirely different view

22      of the event.       For us, it is a major public safety event.

23      And that is how we have to look at it.              How do we police a

24      major public safety event?          Because as they say, we have

25      350,000 people come in for this event.              350 are not spread



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 1      out all over Myrtle Beach or Horry County the way they are

 2      in other special events or other events.             This would be an

 3      extraordinary event because there's no sponsor in Myrtle

 4      Beach.   There are no events in Myrtle Beach.              Here, we're

 5      having to deal with a major public safety event that we

 6      are left to make as safe as we possibly can.               That is our

 7      purpose and policing that event is our goal.

 8                  If you look at the plaintiff's experiences over

 9      the last 20 years, they are somewhat limited.               They are

10      not policing day-to-day in the City of Myrtle Beach.

11      They're not policing all aspects of the event.               They're

12      only policing some small part of what they witness as one

13      person in the middle of a crowd.            You'll hear from the

14      city police chief who's been working with and planning for

15      Memorial Day Weekend for 20 years.

16                  And I want to say right now that the comparison

17      between Myrtle Beach -- or Memorial Day Harley Week and

18      Harley Week comparison is sharply disputed {verbatim}.

19      The facts are very much disputed.            You've got affidavits

20      that you've already alluded to that you've read on both

21      sides.   We've put in films showing events that are -- or

22      happenings that are occurring during Memorial Day Weekend

23      and we're showing statistics and graphs.

24                  They may downplay them.          We think they're

25      significant, particularly when it comes to response and



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 1      getting able to get through the traffic to an emergency

 2      with emergency vehicles getting to the hospital or getting

 3      to the airport or wherever a person needs to get to.

 4      Because you'll see that this plan is designed to be able

 5      to allow any person to get anywhere in the City of Myrtle

 6      Beach if they just know how to navigate and they don't

 7      have to get into the loop.

 8                   I've already talked and established with

 9      Dr. Clarke that the purpose of the Harley riders is to get

10      in and out of Myrtle Beach.            They like to go to the south

11      end.     You can see that in some of the affidavits.             They

12      talk about the Suck Bang and Blow.            They talk about the

13      Rat, the Beaver Bar.       Those are the places they like to go

14      and where they like to hang out.            And those are, more or

15      less, special events with parking lots and people coming

16      there.

17                   Violet Lucas provided a similar type of

18      affidavit where she said, well, we've gotten to the point

19      now where there's so many cars and there's so much traffic

20      in Ocean Boulevard, we like to do our stuff up at North

21      Myrtle Beach.     And they do things like rent the House of

22      Blues and have parking lots and have their own special

23      events there.

24                   What the plaintiff is asking you to do -- and

25      they were very clear, even Dr. Clarke was very clear, what



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 1      they want you to do is if the city is enjoined from

 2      implementing a one-way traffic plan and from maintaining a

 3      traffic loop within its jurisdiction, plaintiffs will

 4      receive all the relief they seek in this motion.

 5                   What they want to do is return to 2014.             And

 6      2014, that plan was a plan that was considered a failure

 7      by all government law enforcement agencies involved all

 8      over the state.      And that was the reason we had a summit

 9      and got everybody together and said, okay, 2-14, and

10      actually as far back as 2007, they say your plan is

11      failing.     We're not achieving good government and we're

12      not having public safety as a primary event.

13                   And one thing I want to talk about when we talk

14      about success on the merits is the Court does not have

15      jurisdiction to give the plaintiffs the relief they seek.

16      And that's very important.

17                   There are certainly 23 miles of the traffic

18      loop.     Six miles of it down here is on roads that are

19      controlled by City of Myrtle Beach, owned by City of

20      Myrtle Beach.     The rest of it is the South Carolina

21      Department of Transportation.           They are not parties here.

22      If you enjoin and issue a preliminary injunction at this

23      stage, how are these people going to get to and what makes

24      them think the rest of this loop will not still be in

25      effect?



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 1                  There's no way that this Court can influence

 2      what takes place from here all the way over to here where

 3      the South Carolina Department of Transportation -- and we

 4      have put in the record letters where they have given

 5      approval for us to do whatever we have to do or want to do

 6      in that part of the loop that is in our jurisdiction.                 But

 7      they still are, ultimately, in control and they are not

 8      parties.    And that's very important.          Because you were

 9      trying to -- they're asking you to give them relief that

10      you just cannot do based on the jurisdiction that you have

11      at this point in time.

12                  Certainly, you have jurisdiction over the city

13      and the Myrtle Beach Police Department.             But as far as the

14      loop, that is a creature of the task force, the Bikefest

15      Task Force.      You didn't hear Mr. Colfax mention that one

16      time during his argument.

17                  But you have seen -- they talked about

18      after-action reports.        Those after-action reports were

19      made to the Bikefest Task Force.            The chairman of the

20      Bikefest Task Force is Randy Weaver.            You've got an

21      affidavit from him.       He is the person who is responsible

22      for emergency response for Horry County.             Does not work

23      for the city and we have no control over him.

24                  So for that reason, what we're saying here is

25      that if you go into the Arlington Heights analysis, one of



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 1      the first things that the Arlington Heights analysis, what

 2      was the intent of the decision maker?             You know who the

 3      decision maker was in this case?            The decision maker was

 4      the Bikefest Task Force plan.            You will see -- or as the

 5      case develops, they will find that the City of Myrtle

 6      Beach submitted a different traffic loop that was rejected

 7      by the Bikefest Task Force.            So they're the ones that

 8      you're going to have to get the intent under the Arlington

 9      Heights.

10                   They say we don't have an articulable rational

11      basis for policing the event.            Our basis is very

12      articulated not just by the city, but all the members of

13      the Bikefest Task Force.         And I could read out -- you've

14      got all the members, it's all the cities, SCDOT, SLED,

15      South Carolina Departments of Commerce, the Highway

16      Patrol, all the cities, and all of Horry County are the

17      ones that say this is the basis and this is the reason for

18      this plan.

19                   THE COURT:    I recall there being maybe a dozen

20      municipalities.

21                   MR. MICHAEL BATTLE:         Everyone in the county.

22                   THE COURT:    They're all cities, they're Horry

23      County, the municipalities within the county as well as

24      the Department of Transportation; is that correct?

25                   MR. MICHAEL BATTLE:         Well, I can give them to



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 1      you.

 2                  THE COURT:     No, don't do that.        I've got that

 3      there.   I know where to look.

 4                  MR. MICHAEL BATTLE:         It's every -- even Loris,

 5      which is not affected by it, it's Conway, which has people

 6      come through it, but it doesn't get affected by it.

 7                  THE COURT:     So they're outside of Horry County?

 8                  MR. MICHAEL BATTLE:         No, sir, they're in Horry

 9      County, but they're -- Horry County is the largest land

10      mass east of the Mississippi which is a single county.

11      It's bigger than the State of Rhode Island, as a matter of

12      fact.

13                  So what we're talking about here is a large area

14      and we're having a large cross-section of people.                There

15      are 370,000 people in Horry County now.             A large

16      cross-section of people looking at this plan.               And the

17      generally accepted basis for the reason why we have a

18      traffic plan is it promotes public safety.               We've got two

19      people here who I hate to disagree with, but I would say

20      one thing is their opinions are sharply contested.

21                  Now, the question that we get to as we go

22      through the test, and I haven't touched on it much, what

23      is the purpose of a preliminary injunction?              We're here

24      and you're being asked to base on this suit that's been

25      here for two and a half months, we have not been allowed



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 1      to do any discovery or not been able to do any discovery

 2      written or otherwise.

 3                  THE COURT:     Have y'all sought to do discovery?

 4                  MR. MICHAEL BATTLE:          Nobody's sought to do

 5      discovery because we've gone from judge to judge and

 6      getting status conferences.            And there hasn't been

 7      anything scheduled at this point in time.                There has

 8      been -- Mr. Colfax's firm has done an extensive Freedom of

 9      Information Act examination of documents.                But the city

10      has not had an opportunity -- and we would -- first, we

11      learned of the suit -- actually, it was when they let us

12      know a few days before they filed it at the end of

13      February or March, which is about two and a half months

14      before the Memorial Day Weekend event takes place.

15                  The courts will tell you that the purpose of the

16      preliminary injunction is to preserve the status quo.                   And

17      we're going to talk about why the status quo is what's

18      been in place for the last three years.             It's not just

19      what's been in place for the last three years that --

20      because it's been in place, but this is how the public has

21      been educated.

22                  We sent out notices.          We have all these officers

23      trained.    We have officers coming from all over the state

24      and from other states coming in to help police this event.

25      They have been given special training.             They have been



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 1      given sensitivity training.            And they're here with their

 2      deployments.     We've already made the deployments and we've

 3      already spent close to $305,000 getting ready to stage

 4      this public safety event as best we can.             That would all

 5      be taken away in the stroke of a pen if that were to

 6      occur.

 7                  Let me go to the irreparable harm because that

 8      touches on that basis.        You've got the First Amendment

 9      test.    You have to have an intent to communicate an

10      articulable message.       Every time somebody rides a

11      motorcycle up and down the street is not an articulable

12      message.    I'm sure Mr. Colfax is saying, well, that's what

13      we intend to do.      It might be what Atlantic Beach intends

14      to do, but it's not what is intended to be done in Myrtle

15      Beach.     But that's what we're talking about, what are they

16      going up and down the street, 6th Avenue, Ocean Boulevard?

17                  Then the next part is the likelihood is great

18      that the message would be understood by the public.                 Well,

19      that's not the case.       And I don't have any proof, I

20      haven't done any testing of it or one way or the other,

21      but I haven't seen in any of the affidavits where they

22      would -- anybody talked about, you know, this is a parade.

23      We had a permit or anything like you would do.               They use

24      parade cases, where you might have the gay rights parade

25      and they say that certainly is intended to convey a



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 1      message and it's not a written articulable message.                 But

 2      that is not a parade.        This is a 24/7 up and down the

 3      street congregation of people.

 4                  And then, of course, the case of Shanks vs.

 5      Forsythe County --

 6                  THE COURT:     Let me stop you on that, Mr. Battle.

 7                  MR. MICHAEL BATTLE:         Sure.

 8                  THE COURT:     I appreciate you saying, and it's

 9      consistent with my memory, that you didn't have evidence

10      of the public's understanding or lack thereof.               I don't

11      recall it really on either side.            I'll give the plaintiff

12      a chance to address that later.           But I don't recall that

13      either way being offered in the way of proof.

14                  MR. MICHAEL BATTLE:         It was not offered.       They

15      were saying that's what they'd like to do and what they

16      perceive, but there was nothing in the affidavits

17      indicating I'm there to communicate.

18                  THE COURT:     Well, I'm really talking about not

19      what they're trying to communicate --

20                  MR. MICHAEL BATTLE:         Oh, well, that's what I

21      understood.

22                  THE COURT:     -- but as I understand the issue is

23      what the public articulates.           And I saw no evidence really

24      from either side on what the public understands the event

25      to be.



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 1                  MR. MICHAEL BATTLE:         That would be correct.

 2                  THE COURT:     And I'm not -- I know y'all will

 3      have a chance to come back and address that if you'd like

 4      to.

 5                  MR. MICHAEL BATTLE:         That's what we're talking

 6      about with the First Amendment and the -- what is the test

 7      for finding it.

 8                  Then you look to the First Amendment -- and

 9      then, of course, if there is a First Amendment violation,

10      so to speak, there's some question of irreparable harm or

11      something along those lines.           I would refer you to the

12      Memphis vs. Green case where traffic was altered and they

13      said that's not the kind of harm we're looking for.

14                  You do have the -- what the harm that would be

15      to the plaintiffs if you deny the preliminary injunction,

16      the loop would stay in place, but it would only be in

17      place from 10 to 2 each night.           That's 12 hours out of a

18      weekend, from 10 to 2, during the critical times of mass

19      critical concentration of people as Mr. Colfax said.

20                  And it would also be a time when we're

21      experiencing the most violent or criminal activities.                 And

22      we have to be able to respond and get to the scenes.                 And

23      when the traffic is congested and blocked, as it was

24      during 2014, we were unable to get there to adequately

25      perform our government services.



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 1                  And if you take the concept of what cruising two

 2      ways on Ocean Boulevard are, the best analogy I would say,

 3      it would be like having a parade going in two directions.

 4      You've got this parade going south and this parade going

 5      north and they bump into each other.            You would expect to

 6      have congregation.       You would expect to have congestion.

 7      And you would expect to have confusion and frustration.

 8                  Talking about the status quo one more time,

 9      since 1999 there has been one-way traffic on Ocean

10      Boulevard except for three years when the city exercised

11      its discretion to try to say, okay, let's see what happens

12      if it doesn't -- if we let two-way traffic come back and

13      forth.   And they still had some traffic controls, but they

14      allowed it to come back.         And each time, the law officers

15      would come in and they would approach the city manager and

16      say, look, how about we need to look at something else

17      because we've got to get these emergency lanes opened.

18                  THE COURT:     Is that '11, '12 and '13?

19                  MR. MICHAEL BATTLE:         No, sir, that would be '12,

20      '13, and '14.     2011 was not -- that was the year they made

21      the decision, and '12, '13, and '14 were the years that it

22      came into being.

23                  THE COURT:     Okay.

24                  MR. MICHAEL BATTLE:         And even the settlement

25      agreement approved by the NAACP and the plaintiffs allowed



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 1      that to occur.     For them to say now that that's not the

 2      status quo is nothing that they had any participation in.

 3                  Irreparable harm to the city and to the Bikefest

 4      Task Force, we don't want to return to the government

 5      failure that occurred during 2014 where you have someone

 6      who is shot and bleeds out on the stairs because he cannot

 7      get an ambulance to him, or people being shot in the

 8      street because you cannot get a police officer presence.

 9                  There was a statewide response to that

10      government failure.       You had the governor, Governor Haley

11      comes down and says this has got to stop.                Even had

12      members of the NAACP, Mickey James standing up saying this

13      has got to stop.      He's now a plaintiff in this suit and

14      saying he wants to return to that.            But back in 2014, that

15      was not the case.      And that's something we will explore

16      during the course of discovery.

17                  The harm would be a mismanaged public safety

18      event, which would be a harm to the public.                The harm

19      would be it would delegitimize the city's authority.                   It

20      would delegitimize the Bikefest Task authority.                And it

21      would simply say what you're doing is illegal.                Pay no

22      attention to the protectors up here, turn them into

23      guards, containment guards with a hands off.

24                  They talk about the balance of the equities.

25      Balance of the equities, it was interesting to note they



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 1      said the City of Myrtle Beach is friendly and very cordial

 2      to us African-Americans 362 days out of the year, but on

 3      three days for some reason, they turn into racists.                 It

 4      does not make sense to me.         I do not understand that

 5      logic.   The point is that it is a public safety event.

 6      They want to view it as a social gathering.              But it's

 7      still very much a public safety event and we have to take

 8      it very, very seriously.

 9                  It is such that looking at the balance of the

10      equities, I've talked about the harm to the plaintiffs.

11      You look at the harm to the city, we will lose our

12      resources that we have invested since 2015.              You'll hear

13      testimony of Joey Crosby, who will come up and testify

14      that he's been working on the 2018 plan since August of

15      2017.

16                  As far as an equity -- or an equitable defense,

17      I think the plaintiffs are guilty of laches.               They have

18      had a plan -- this plan has been in effect for three

19      years.   They have participated in it and have tried to

20      influence it.

21                  They have began planning the lawsuit itself

22      before the 2017 Memorial Day Weekend.             You heard

23      Dr. Clarke talk about he came down and sent a team down to

24      do the measurements and everything.            But they waited.

25      They waited approximately two and a half months before the



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 1      event began to file the suit.

 2                  And they've come up with all these statements

 3      that we sharply contest about what the facts are.                 And

 4      it's hard for me to sometimes not get overexcited about

 5      the facts, how wrong they have the facts.                I mean, they

 6      don't even know who to sue.            They don't even know who owns

 7      the roads or who controls the roads.            They say it's a

 8      Myrtle Beach Bikefest, it's a Myrtle Beach event, when

 9      there are no events -- as you pointed out, there are no

10      events that take place in Myrtle Beach, no scheduled

11      events.

12                  THE COURT:     Is that the case for both Harley

13      Week and Bikefest?

14                  MR. MICHAEL BATTLE:         Not for the Harley people.

15      They come -- Myrtle Beach, you have to understand, all the

16      hotels, all the high-rises are located right in here.

17                  THE COURT:     Yes, sir.

18                  MR. MICHAEL BATTLE:         And the only place if

19      you're going to stay, if you're coming from out of town,

20      you either rent a house up here, which some of the bikers

21      do, or you get a hotel room.            So they have to come in --

22      they want to go down here to Murrells Inlet.                It's not on

23      the map.    But --

24                  THE COURT:     You're talking about Harley Week?

25                  MR. MICHAEL BATTLE:         Harley Week, down here.



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 1      And what Ms. Lucas was saying is that they like to go up

 2      there to the northern end of the beach.

 3                   THE COURT:     But my question was, and I want to

 4      make sure it's clear for both Harley Week and Bikefest, is

 5      it the city's position that there are no scheduled events

 6      --

 7                   MR. MICHAEL BATTLE:         That's correct.

 8                   THE COURT:     -- within the city?          The activity is

 9      the traffic flow that both have in driving, but there's

10      not something at a certain time or certain place for

11      either event during the city?

12                   MR. MICHAEL BATTLE:         No, sir.

13                   THE COURT:     Okay.      So no permits either way?

14                   MR. MICHAEL BATTLE:         No permits have been issued

15      or denied?

16                   THE COURT:     Either way?

17                   MR. MICHAEL BATTLE:         Either way.

18                   THE COURT:     Okay.

19                   MR. MICHAEL BATTLE:         Final test of a preliminary

20      injunction is that government policy, you have to look at

21      the public interest.        And the public interests are defined

22      are what are the policies that are in place that would be

23      allowed to unfold?        Our government policy is to put safety

24      first.   That is our articulated basis.             And that's what

25      you would have happen if the city is given the discretion



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 1      and the flexibility to be able to make changes and be able

 2      to operate under its own plans.

 3                  There is certainly a lot more of a philosophy

 4      taking place in the policing world that government

 5      policing best is handled on a local community level.                 And

 6      you have all this community policing.             You have people

 7      establishing relationships.            And we have worked very hard

 8      with community meetings and trying to establish

 9      relationships, sensitivity trainings, deescalation

10      trainings, dealing with crowds, because that's our bread

11      and butter.      That's how we make our money in the City of

12      Myrtle Beach.     And that's what puts tax dollars into the

13      coffers is that we're trying to find how to make these

14      events safe.      And as long as we can keep them safe, people

15      will keep coming.

16                  People -- the police need to have the

17      flexibility to use discretion in doing their jobs.                And I

18      did not cite the Charlottesville report to give you any

19      example of what had taken place.            My only point in that is

20      when the police are not properly instructed and trained

21      and don't know what to do, which is what would happen if

22      we change the plan two and a half weeks before the event,

23      if they're not -- they don't know what to do and they're

24      going to stand back and have a hands-off attitude.                That's

25      the only point there.



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 1                  You have people here -- you want to put people

 2      in charge of public safety events who are police officers,

 3      who are currently on the scene, have intimate knowledge of

 4      the complexity and nuances for policing events.               They have

 5      the education.      They have been training for this event,

 6      some of them for 20 years.         They have the experience of

 7      the events.      And they know what works best as far as they

 8      can tell.

 9                  They're doing -- as you pointed out, they're

10      doing the best they can.         Certainly, you can have Monday

11      morning quarterbacking and criticism.             But none of them

12      have come up with anything better except to say go back to

13      2014, which was the failure recognized by every law

14      enforcement agency in the State of South Carolina.

15                  Thank you, Judge.

16                  MR. JAMES BATTLE:          Your Honor, we have two

17      witnesses we'd like to call.

18                  THE COURT:     That would be fine.

19                  MR. JAMES BATTLE:          First witness is Captain Joey

20      Crosby.

21                  THE CLERK:     Captain, would you please step

22      forward to be sworn?       State your name for the record, sir.

23                  THE WITNESS:      Captain Joey Crosby.

24                  THE CLERK:     Raise your right hand to be sworn.

25                  JOEY CROSBY, after being duly sworn, testified



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 1      as follows:

 2                    THE WITNESS:     Yes, sir, I do.

 3                    THE CLERK:     Thank you, sir.       Please take a seat

 4      in the stand.

 5                                 DIRECT EXAMINATION

 6      BY MR. JAMES BATTLE

 7      Q     Captain Crosby, where are you employed?

 8      A     Currently with the Myrtle Beach Police Department.

 9      Q     How long have you been with the Myrtle Beach Police

10      Department?

11      A     20 years.

12      Q     Okay.      And what is your current position with the

13      City of Myrtle Beach?

14      A     I currently serve as the Captain of Support Services,

15      which includes me being the department's Public

16      Information Officer as well as Special Events Coordinator

17      as it pertains to events in the police department.

18      Q     So you're a Captain of Myrtle Beach Police and then

19      your role is to handle special events within the city?

20      A     Yes, sir.

21      Q     Okay.      And this chart that the plaintiffs have

22      brought is a chart of the traffic loop that's put in place

23      during Memorial Day Weekend?

24      A     Yes, sir.

25      Q     If you could, just come down from the stand and give



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 1      me a thumbnail sketch or give the Court a thumbnail sketch

 2      of how this traffic loop works.

 3      A     Yes, sir.

 4                  MS. RAMCHANDANI:       Is it okay if I just come

 5      stand over here?

 6                  THE COURT:     No problem.

 7                  THE WITNESS:      This is an accurate representation

 8      of the traffic loop pattern itself.            As you know, it

 9      begins here on 29th Avenue North.            The motorists will

10      travel south on Ocean Boulevard to Kings Highway.

11                  At Kings Highway, the motorists will travel

12      north on Kings, making a left-hand turn on Harrelson,

13      across the intercoastal waterway to Waccamaw Boulevard,

14      which runs parallel to 501.            At Waccamaw Boulevard, the

15      motorists will then proceed to Dick Scobee Road and Forest

16      Brook Road.

17                  Here at this interchange, the motorist has three

18      options.    The motorist can either go south on Highway 31,

19      the motorist can go north on 31, they can go towards

20      Conway, or even a fourth option is they can turn around

21      and come back into the city if they so desire.

22                  THE COURT:     On what route?

23                  THE WITNESS:      On Highway 501.       If the motorists

24      choose to go on 31, there's message boards indicating that

25      once they get to Robert Grissom Parkway, they'll exit onto



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 1      Robert Grissom Parkway where the motorists will come back

 2      to Bypass 17 traveling south at this intersection, which

 3      is 29 North and Bypass 17.

 4                  The motorist has another option.             They can

 5      continue south on the Bypass if they choose to.               If they

 6      choose to turn east or what would be a left-hand turn on

 7      29 North, they're back in the traffic pattern.

 8                  There's three intersections really of importance

 9      with this traffic pattern.         29th North and the Bypass,

10      29th North and Oak Street -- I'm sorry, Kings Highway, and

11      then Harrelson Boulevard and Kings Highway.              The reason I

12      want to point those out to you is these are where the

13      motorist -- if the motorist turns at this intersection

14      eastbound, they're in the traffic pattern.               At 29th and

15      Kings Highway there is cross-traffic north and south.                  If

16      the motorist chooses to turn eastbound on 29th towards Oak

17      Street, they are then in the traffic pattern.               If the

18      motorist --

19                  THE COURT:     I'm sorry, Captain, did you say --

20      is Kings Highway the road that runs parallel to Ocean

21      Boulevard, right?

22                  THE WITNESS:      Yes, sir.

23                  THE COURT:     And did you say you could get off

24      the loop north or south on Kings Highway?

25                  THE WITNESS:      There is cross-traffic here, Your



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 1      Honor, where the motorist can go north or south.                But if

 2      the motorist does choose to go eastbound, they're then in

 3      that traffic pattern.

 4                  THE COURT:     It means keep going straight,

 5      correct?

 6                  THE WITNESS:      Going towards Ocean Boulevard.

 7                  THE COURT:     Okay.

 8                  THE WITNESS:      They're now in the traffic

 9      pattern.

10                  THE COURT:     Yes, sir.

11                  THE WITNESS:      And if the motorist gets to

12      Highway 17 and Harrelson Boulevard, then the motorist will

13      be forced to go up Harrelson at that point.              That's the

14      only place where you're forced to go in the traffic loop.

15                  We spent a considerable amount of time educating

16      the public as to how to navigate this traffic pattern.

17      We've developed a traffic app that's on our website that's

18      similar to Google to where if you will geo-locate yourself

19      and then put in your destination where you're going, the

20      app will take into consideration this traffic pattern and

21      navigate you around so you're not caught in the traffic

22      pattern.

23                  We hold several business meetings to where we

24      provide this information to the business community to

25      hopefully encourage them to tell their guests if you have



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 1      a parking garage on the west side of Ocean Boulevard to

 2      utilize that parking garage.           The example that was given,

 3      if you were at 6th Avenue North and you decide that you

 4      want to go northbound, if you're at a parking garage on

 5      the west side of Ocean, you can simply exit to Kings

 6      Highway, travel north or south to your destination of your

 7      choice.

 8                   THE COURT:     So you can travel west of Ocean

 9      Boulevard?

10                   THE WITNESS:     Yes, sir.

11                   THE COURT:     As long as you don't start from

12      Ocean Boulevard?

13                   THE WITNESS:     Yes, sir.      If you're on the east

14      side -- if you have to travel or park in a traffic --

15      parking garage on the east side, then, yes, sir, you would

16      be.   But if you can park on the west side, then you're

17      allowed to get out there.

18                   We also provide hanger tags which goes on your

19      rear-view mirror for the hoteliers to give to guests so

20      they have this information, they're knowledgeable as to

21      what the traffic pattern is and how to get to and from.

22                   And then finally, we also utilize our social

23      media outlets, which is Facebook and Twitter, to really

24      highlight what this traffic pattern is and give the

25      motorists information.



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 1                    Your Honor, the second traffic pattern that's in

 2      place is on Ocean Boulevard, as was noted, which begins at

 3      6 a.m. Friday morning.         This is a one-way pattern where

 4      motorists will travel south on Ocean Boulevard, leaving

 5      the northbound lanes for fire, police, EMS, and wreckers

 6      to access and provide services to our citizens and guests.

 7      Q     Thank you, Captain.

 8      A     Yes, sir.

 9      Q     Oh, Captain, I'm sorry.

10      A     Yes, sir.

11      Q     So this loop altogether is 23.1 miles?

12      A     Yes, sir.

13      Q     Okay.      And there are how many exits?

14      A     Roughly, there's -- I believe it's -- you can exit

15      off of Ocean Boulevard where there is a red light on Kings

16      Highway with the exception of four emergency lanes.                  Those

17      four emergency lanes are 16th Avenue North, 8th Avenue

18      North, 6th Avenue South, and 17th Avenue South.                Other

19      than that, that leaves seven -- I believe seven avenues

20      that will allow you to get off of Ocean Boulevard.

21      Q     Okay.      And that's when the travel loop is in place?

22      A     That is the other 20 hours of the day.

23      Q     I got you.

24      A     For the traffic pattern itself, what is commonly

25      known as the traffic loop, those four hours, the only



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 1      place to get on Ocean Boulevard is 29th Avenue North, and

 2      then you will travel around to this exit point here.

 3      Q       Okay.    I got you.     So as you said, the loop is

 4      23.1 miles?

 5      A       Yes, sir.

 6      Q       And then Myrtle Beach has a number of streets that,

 7      you know, where you could travel Ocean Boulevard and then

 8      make a right, say, you've got Bob Grissom here, you've got

 9      Kings Highway.       Why is the loop taking people out onto

10      Highway 22 as opposed to one of these streets within the

11      city?

12      A       Certainly.    We experience major traffic congestion

13      along Kings Highway.          I personally have seen the traffic

14      congestion from the center of town, which would be right

15      in this particular area, all the way down into Surfside on

16      Kings Highway.       And I literally mean bumper-to-bumper

17      traffic congestion.         If we try to navigate this traffic to

18      the Bypass, the Bypass is the only road that is operating

19      freely and flowing freely that would allow you to get to

20      and from your destination.

21              There is a hospital right in this general area here.

22      And there's a hospital right in this general area here.

23      If we were to tie up that traffic pattern there, then

24      police and EMS, particularly EMS would not be able to get

25      to the hospital due to the traffic congestion.



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 1      Q     Okay.      Let me ask you -- so this is a -- this traffic

 2      pattern is meant to control the traffic during Memorial

 3      Day Weekend?

 4      A     Yes, sir.

 5      Q     Is the traffic during Memorial Day Weekend similar to

 6      traffic you've policed where there's an event, say, a

 7      baseball game or a football game where people are coming

 8      and leaving?

 9      A     This is different.         As has been stated here several

10      times today, the primary congestion is along Ocean

11      Boulevard, traveling down Ocean Boulevard, which leads to

12      congestion on Kings Highway.            So you have the -- the

13      congestion is flowing down south on Ocean Boulevard, which

14      then leads the motorists to get back onto Kings Highway,

15      which really creates a lot of congestion in this area.

16            When you look at a special event, such as a baseball

17      or a football game, or even the County Musicfest that's

18      right in the center of town, you have traffic that's

19      coming pre-event and then you have traffic post-event that

20      you're trying to control in and out.              This traffic is

21      flowing constantly, 24 hours a day.              There is very little

22      break in this.

23      Q     Okay.      When the people during Memorial Day Weekend

24      get to Ocean Boulevard, do they want to leave Ocean

25      Boulevard?



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 1      A     Typically, no, sir.         We have found the majority of

 2      the individuals and attendees want to cruise Ocean

 3      Boulevard.       And what we do during the traffic pattern is

 4      we have 815 cameras.         Those 815 cameras are utilized by

 5      our real-time crime unit.           We have individuals that are

 6      watching to monitor it, to include our dispatch unit, to

 7      advise us are there any traffic congestion problems along

 8      the pattern itself.

 9            We also incorporate SLED's helicopter, SLED being the

10      South Carolina Law Enforcement Division.                  That unit flies

11      over this area the entire time of this traffic pattern

12      providing immediate feedback to the ground, to the

13      incident commander advising if there's any problems.

14            What that will allow us to do is if there is a

15      stoppage in traffic along Ocean Boulevard, that officer in

16      that sector is immediately notified.              That officer then

17      goes and clears that obstruction and gets that traffic

18      flowing by directing traffic in the roadway.

19      Q     Okay.      And once people get off of Ocean Boulevard,

20      they want to get back to Ocean Boulevard as fast as

21      possible; is that right?

22      A     Typically, yes, sir.

23      Q     Okay.      And you've -- you just testified to this a

24      little bit.       But once the plan is in place and the traffic

25      pattern and the traffic loop, will the Bikefest Task Force



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 1      or the officers on the ground ever modify it to

 2      accommodate what's actually going on on the ground?

 3      A     Yes, sir.      An example of that was last year.               Due to

 4      weather conditions and limited traffic, as there's been

 5      indicated the traffic pattern is from 10 to 2, 10 at night

 6      to 2 in the morning, due to the conditions, this traffic

 7      pattern was stopped early because there was not a need for

 8      it.   So there was collaboration from our incident

 9      commander to the surrounding agencies on the task force

10      and the decision was made to stop the traffic pattern

11      early.

12      Q     Okay.      And there's been a lot of testimony about

13      Harley Week versus Memorial Bike Week.              And you've been a

14      police officer in Myrtle Beach for a long time?

15      A     20 years, yes, sir.

16      Q     Okay.      Is there a difference between the two events?

17      A     Yes, sir, in my opinion there is.             For the Harley

18      rally in the early years was very similar with the traffic

19      pattern.      However, since the 2009 boycott and the passage

20      of the ordinances, many of the motorists will travel from

21      a destination such as their lodging to Murrells Inlet or

22      to North Myrtle Beach.          There is very little activity in

23      the City of Myrtle Beach that people attend to.                 So

24      they're going to and from their destination, not cruising

25      back and forth.



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 1      Q      And then Memorial Day, the focus point is Ocean

 2      Boulevard?

 3      A      Yes, sir.

 4      Q      Okay.

 5      A      As a result of the reduction in the traffic and the

 6      amount of attendees, that is why our manpower has

 7      decreased during Memorial Day -- I'm sorry, during Harley

 8      Weekend as a result of that decrease in that traffic.

 9      Q      Sure.

10                     MR. JAMES BATTLE:        Thank you, Captain Crosby.

11                                 CROSS-EXAMINATION

12      BY MS. RAMCHANDANI

13      Q      I'm going to move this out a little bit so I can see

14      you.

15      A      Yes, ma'am.

16      Q      Good afternoon.

17      A      Good afternoon.

18      Q      Captain Crosby, I just have a couple of questions

19      about the map to make sure I'm understanding the loop

20      correctly.

21      A      Yes, ma'am.

22      Q      If you had -- if you were standing on the east side

23      of Ocean Boulevard.

24      A      Yes, ma'am.

25      Q      And you left your hotel and wanted to go to dinner



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 1      on, let's say, South Ocean Boulevard.

 2      A       Okay.     Yes, ma'am.

 3      Q       And you leave and you finish dinner after 10 p.m. and

 4      it's Black Bike Week weekend, and you want to get back to

 5      your hotel, the only way you can do that on Ocean

 6      Boulevard, right, is to go all the way around the whole

 7      loop?

 8      A       No, ma'am.

 9      Q       No?

10                      THE WITNESS:     Your Honor, may I approach the

11      map?

12                      THE COURT:     Sure, that would be fine.

13                      THE WITNESS:     So some destinations would be

14      typically, let's say, in the Surfside, Garden City area.

15      It was past 10 o'clock and you wanted to get back to your

16      hotel, you would simply travel Bypass 17, travel

17      northbound to Joe White Avenue, and Joe White Avenue you

18      would drop into the city.            And let's use 21st Avenue

19      North, which is the Breakers hotel.               The Breakers hotel

20      has a parking garage on the west side.               You would go to

21      21st Avenue North -- 18th, I'm sorry, 18th Avenue North,

22      go to your parking garage, park there at your destination.

23      Now, if you had to park on the east side, same location,

24      you would go to 29th Avenue North and then drop down to

25      your hotel parking lot.



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 1      Q     But if you were at dinner on Ocean Boulevard and you

 2      were exiting onto Ocean Boulevard, you would then have to

 3      go on the loop all the way around?

 4      A     So there's a restaurant approximately right here

 5      that's called Damon's.         If you were eating at Damon's,

 6      then, yes, ma'am, you would come and travel this roadway

 7      until when you got to 501, turn around and come back into

 8      the city.    At the city, come back into Joe White and go

 9      back to the destination I was telling you about.

10      Q     But then if you had to go onto the east side, you

11      would have to come all the way around again?

12      A     No, ma'am.     Go down 501 northbound on the Bypass, go

13      to 29th North, come down -- or the easiest route would be,

14      again, go to 21st Avenue North, go to 29th, drop down to

15      Ocean Boulevard and go to your destination.

16      Q     But the only entrance to Ocean Boulevard is 29th,

17      right?

18      A     29th and Kings Highway and then 29th and the Bypass.

19      Q     And those are the only two entrances to Ocean

20      Boulevard?

21      A     Yes, ma'am.

22      Q     And you would have to traverse all the way up here?

23      A     Yes.

24      Q     And then take an exit all the way --

25      A     Correct, if you want to get on the east side, yes,



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 1      you're right.

 2      Q      Okay.     I wanted make sure I understood that.            Have

 3      you done any outreach -- I mean, is the Google app up,

 4      ready, and out and working for people?

 5      A      Yes, ma'am, it's on our website currently.

 6      Q      You could take it down, right, if you needed to?                  If

 7      you were to change the traffic loop, you could take that

 8      app down?

 9      A      Yes, ma'am.

10      Q      And you have police who are on duty and working

11      during Harley Weekend; is that right?

12      A      Yes, ma'am.

13      Q      And those are police officers who are Myrtle Beach

14      Police Department officers?

15      A      Yes, ma'am, and also other officers from outside

16      agencies as well.

17      Q      For Harley Weekend?

18      A      Yes, ma'am.

19      Q      And do some of those same officers police Black Bike

20      Weekend and Memorial Day Weekend?

21      A      I'm not sure if some of the same are coming down or

22      not.

23      Q      Some of the Myrtle Beach Police Department officers?

24      A      From Myrtle Beach, yes, ma'am.

25      Q      So those officers are familiar with the pattern



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 1      that's used during Harley Week?

 2      A     Yes, ma'am.

 3      Q     In addition to the pattern that's used during Black

 4      Bike Week?

 5      A     Yes, ma'am.

 6      Q     Okay.      And so if you were to use the same pattern

 7      over the two weekends, you would have officers who were

 8      familiar with what was happening during the previous

 9      weekend during Harley Week, correct?

10      A     Yes, ma'am.

11      Q     Okay.      The -- you mentioned the 815 cameras.            Those

12      are up year round in Myrtle Beach, right?

13      A     Yes, ma'am.

14      Q     So it's not as though that's something you put in

15      place just for Black Bike Week?

16      A     No, ma'am.

17      Q     So you would have the ability, no matter what the

18      traffic pattern that's in place, to be doing sort of

19      real-time viewing of those cameras and adjusting traffic

20      patterns, congestion, et cetera?

21      A     Yes, ma'am.       The purpose of those cameras are for

22      traffic management, yes, ma'am.

23      Q     And that's something you can do any time --

24      A     Yes, ma'am.

25      Q     -- of the year?        Okay.      Have you -- you spoke about



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 1      last year stopping the loop early on Sunday evening; is

 2      that right?

 3      A     Yes, ma'am.

 4      Q     That was the last night of the three nights of the

 5      weekend?

 6      A     Yes, ma'am.

 7      Q     And you ended it about half an hour early; is that

 8      right?

 9      A     I don't recall.       I don't have my notes with me, but I

10      don' recall.     I do recall it was early.           I thought it was

11      a little earlier than that.

12      Q     But you don't recall exactly when it was?

13      A     No, ma'am.

14      Q     Has there ever been a time when you've been watching

15      in real time and you have said, okay, we're going to stop

16      the loop at 10:30 and put it back in place at 11:30?

17      A     No, ma'am.

18      Q     So it's binary, once it's -- it's on and then it's up

19      and you may take it off, but it's not a back and forth,

20      loop on, loop off?

21      A     Right.     If there's a need to stop it, such as weather

22      conditions or traffic conditions, that's when we stop it.

23      Q     But then you would be done for the evening?

24      A     Yes, ma'am.

25      Q     You heard Chief Williams testify about the flush-out



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 1      plan?

 2      A       Uh-huh.

 3      Q       That is something that you can put into place and

 4      take away throughout the course of an event or an evening;

 5      is that right?

 6      A       No, ma'am, because you need additional manpower for

 7      that.     And what I mean, that you have additional officers

 8      that would need to be needed for the flush-out plans.                   You

 9      would also need to stage the equipment for the flush-out

10      plan as well as there's a great deal of work that would

11      need to be done ahead of time to do that.

12      Q       How many officers do you have that come to police

13      during Memorial Day Weekend?

14      A       As of today, I have 427 from outside agencies that

15      are coming in.

16      Q       And how many of those officers are dedicated to

17      manning the loop during the loop hours?

18      A       I couldn't testify to that because I don't have that

19      number to me.

20      Q       Could you give us a ballpark or an estimate?

21      A       Probably close to 50, roughly; that's including the

22      roadways within inside the city and then what Highway

23      Patrol controls outside of the city.

24      Q       And those officers, if they were not manning the

25      loop, perhaps could work on the flush-out plan?                 Would



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 1      that be something they could do?            You could reutilize

 2      those resources?

 3                    THE COURT:    If y'all could slow down just a

 4      little bit.

 5      Q       If you were to reutilize the resources of the

 6      officers who were managing the loop if you no longer had

 7      the loop in place, you could use them for a flush-out

 8      plan?

 9      A       Being from outside agencies, that would be a

10      considerable amount of time for the education process of

11      that to advise the officers as to where they would be

12      flushing traffic to and how to utilize and set up the

13      equipment.

14      Q       Could you use some of your Myrtle Beach officers to

15      work on a flush-out plan?

16      A       Yes, ma'am.

17      Q       Would you agree that, in general, it is easier to

18      take away plans than it is to put -- to design and put new

19      plans into place?

20      A       No, ma'am.

21      Q       No?   Okay.   Have you sent out -- well, I was looking

22      on your Facebook page, I didn't see any postings about the

23      traffic plan for Memorial Day Weekend up yet; is that

24      correct?

25      A       No, ma'am, they are up.        They were.



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 1      Q     On the Facebook page?

 2      A     Yes, ma'am.

 3      Q     And what about for Harley Week?             Do you have plans up

 4      for Harley Week?

 5      A     No, ma'am.

 6      Q     Okay.      And you could take the postings down, right,

 7      or you could put new postings up on the Facebook page?

 8      A     Yes, ma'am.

 9      Q     A flush out is something that you have utilized

10      before for other events?

11      A     Yes, ma'am.

12      Q     Okay.      You've used it for the Carolina Country

13      Musicfest?

14      A     No, ma'am.

15      Q     You don't?

16      A     I have a traffic plan that's in place for that

17      particular event.

18      Q     But you allow for a flush out if needed?

19      A     If needed, yes, ma'am.

20      Q     Are there other events where you've used the

21      flush-out plans?

22      A     Flush-out plan is a traffic measured plan that's

23      approved by city council, so it's something --

24                    THE COURT REPORTER:        I'm sorry, slow down,

25      please.



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 1                    THE WITNESS:      I talk really fast.         I apologize.

 2                    THE COURT:     Y'all both slow it down, please.

 3                    THE WITNESS:      The traffic flush-out plan has

 4      been something that's been approved by our city council

 5      that's in our Traffic Management Plan.

 6      Q     Okay.      And so does that mean it's something that can

 7      be used at any time of year when you need it?

 8      A     We have to stage the equipment properly, tell the

 9      officers their assignments.              So there is an educational

10      piece to that and a setup piece to that as well.

11      Q     And you have previously used it in the city; is that

12      right?

13      A     Not that I recall in recent years, no, ma'am.

14      Q     Have you ever had it as an optional -- let me show

15      you a document.       That may make it easier.

16      A     Sure.

17                    THE COURT:     Is this one of the exhibits?

18                    MS. RAMCHANDANI:          Yes, it is.    I can read you

19      the number.       So it's Docket No. 24-27.           It's one of the

20      exhibits to the defendant's opposition.

21                    THE COURT:     Okay.

22                    THE WITNESS:      Thank you.

23                    MR. MICHAEL BATTLE:          Which exhibit is it, I'm

24      sorry?

25                    MS. RAMCHANDANI:          It's 24-27.    I have a copy for



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 1      you and one for the Court as well.

 2                   THE COURT:     So 24 and 27?

 3                   MS. RAMCHANDANI:          No 24-27 of the defense

 4      opposition.      ECF stamp is on the top there.

 5                   THE COURT:     Thank you.       So I don't -- maybe

 6      I'm -- let me just ask an identification question.                  I

 7      can't tell it from the ECF number.              Do you remember what

 8      number the defendant gave it in their exhibits?

 9                   MS. RAMCHANDANI:          I'm pretty sure it is No. 26,

10      Exhibit 26 to their opposition.

11                   THE COURT:     Okay.

12                   MS. RAMCHANDANI:          So it's the operational plan

13      for the Carolina Country Music Festival.

14      Q       Is this a document that you recognize, Captain

15      Crosby?

16      A       Yes, ma'am, it is.

17      Q       And really, I have the whole document here so you

18      have the whole document.         But I'd like to point you to the

19      last section of the first page where it says flush plan.

20      Okay?     So here, if there's major traffic congestion during

21      the Carolina Country Music Festival in June of 2017 --

22      A       Yes, ma'am.

23      Q       -- you were set up to be able to put in place a flush

24      plan?

25      A       Yes, ma'am, that is accurate.



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 1      Q     So officers would have been trained on how to do that

 2      if it was necessary?

 3      A     That's correct.

 4      Q     And those are Myrtle Beach Police Department

 5      officers?

 6      A     Yes, ma'am.

 7                  THE COURT:      Counsel, I don't want to be overly

 8      restrictive, but on y'all's cross time, you really only

 9      had a few minutes.       I'm letting you go, so I'm trying to

10      let you be complete.        But I know there's another witness

11      and I want to be fair to everybody.

12                  MS. RAMCHANDANI:           I'll be wrapping up in just a

13      few more questions.        Thank you, Your Honor.

14      Q     Captain Crosby, you submitted a video along with the

15      opposition, defense opposition?

16      A     Yes, ma'am.

17      Q     What did you film that video?

18      A     At the request of our city staff or city attorneys

19      that are present today to inform the judge as to what our

20      operational plan is.

21      Q     So that is a video you made for this litigation?

22      A     Yes, ma'am.

23      Q     So it's not a video that you've made in previous

24      years?

25      A     No, ma'am.



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 1      Q     Okay.      There are no other events where you -- in the

 2      City of Myrtle Beach where you put in a traffic loop or a

 3      traffic plan like the one for Black Bike Week; is that

 4      right?

 5      A     No, ma'am.

 6      Q     This is the only one that you do it for?

 7      A     Yes, ma'am.

 8      Q     Okay.

 9                    MS. RAMCHANDANI:          Thank you very much.

10                    THE WITNESS:      Uh-huh.

11                    MR. JAMES BATTLE:          No redirect, Your Honor.

12                    THE COURT:     Okay.       Thank you.    You may step

13      down, Captain.

14                    MS. RAMCHANDANI:          Your Honor, I'm sorry, it was

15      Exhibit 28.       So I went down one number instead of up.

16                    THE COURT:     Thank you for clarifying.

17                    MR. JAMES BATTLE:          Your Honor, the city calls to

18      the stand Chief Amy Prock.

19                    THE CLERK:     Ma'am, would you please step forward

20      and be sworn?       Could you state your name for the record,

21      ma'am?

22                    THE WITNESS:      Amy Prock, P-R-O-C-K.

23                    THE CLERK:     Thank you.       Raise your right hand to

24      be sworn, please.

25                    AMY PROCK, after being duly sworn, testified as



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 1      follows:

 2                    THE WITNESS:      Yes, sir.

 3                    THE CLERK:     Thank you, please take a seat in the

 4      stand.

 5                    THE COURT:     Just so we -- I'm -- this is for

 6      both of y'all.       My goal's to be done as close to 15

 7      minutes as we can with this witness so we have time for

 8      the question session.

 9                    MR. JAMES BATTLE:         Yes, sir.

10                    THE COURT:     I won't be absolute, but if y'all

11      could work towards that, I would appreciate it.

12                    MR. JAMES BATTLE:         Yes, sir, I understand, Your

13      Honor.     I appreciate brevity just as much as the next

14      person.

15                                 DIRECT EXAMINATION

16      BY MR. JAMES BATTLE

17      Q     Chief Prock, where do you work?

18      A     Myrtle Beach Police Department.

19      Q     What is your position at the Myrtle Beach Police

20      Department?

21      A     I'm Chief of Police.

22      Q     And how long have you been at the Myrtle Beach Police

23      Department?

24      A     22 years.

25      Q     Okay.      I want to ask you a little bit about the



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 1      traffic pattern and the traffic loop for 2018.                 When did

 2      the Bikefest Task Force start planning for this Memorial

 3      Day Weekend that's approximately three weeks away?

 4      A     The task force actually started working on this in

 5      January of this year, the Bike Task Force.                The City of

 6      Myrtle Beach actually starts their planning back in

 7      August.    The City of Myrtle Beach coordination actually

 8      includes all of our city departments, to include fire,

 9      public works, like I said, all of our city departments.

10      Q     Okay.      And tell me, what is involved -- what all goes

11      into creating this plan?

12      A     That includes utilizing all of our resources,

13      manpower, equipment, communications between all of our

14      departments, in addition to all of the manpower resources

15      throughout our local agencies and our state agencies.

16      Q     Okay.      What are the expenses that the City of Myrtle

17      Beach has already made to put this plan into place?

18      A     We have already purchased several items to replace

19      equipment that was damaged in previous years, in addition

20      to additional equipment, rentals as Captain Crosby alluded

21      to, message boards, arrow boards that are required of this

22      plan that was approved through the Department of

23      Transportation, in addition to manpower that we will have

24      to also pay for.

25      Q     Okay.      Do you have a dollar figure in mind?



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 1      A     Right now we're in upwards of 300,000, but we will be

 2      in upwards of 600,000 after the planning process is

 3      complete.

 4      Q     Okay.      So let me ask you, why did the Bikefest Task

 5      Force create this traffic pattern?              Why does this exist?

 6      A     In 2014 and in years prior to that, we started

 7      evaluating several things that were occurring during

 8      Memorial Day Weekend.         Not only the calls for service, our

 9      ability to respond to calls for service, in addition to

10      our response times, in addition to some of the types of

11      crimes that were occurring during Memorial Day Weekend.

12      And we wanted to be able to provide the utmost public

13      safety to everyone.         That included evaluating the

14      after-action reports provided by our assisting agencies

15      that were coming down from all over the state, to include

16      local, county, as well as state agencies.

17      Q     Okay.      Tell me what are the benefits that are

18      provided by this traffic pattern for the city in providing

19      services?     What do we get out of this?

20      A     The one-way traffic plan on Ocean Boulevard assists

21      us to be able to respond to calls for service quicker,

22      especially in the Ocean Boulevard area.               The loop itself,

23      especially during the timeframes, assist us in responding

24      to calls for service throughout the city.                 The congested

25      areas, as Captain Crosby and several other witnesses have



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 1      alluded to, is the congestion in the area.                   This

 2      congestion is not just in the Ocean Boulevard area, but

 3      also on our major thoroughfares and that is why we

 4      developed the loop.

 5            We had the opportunity in 2014 to have a summit that

 6      was created by Chief Gall, who brought in agencies from

 7      all over our nation to listen to how they effectively

 8      managed events and also listened to our Department of

 9      Transportation to see how we could manage the event

10      better.    We took all of this into consideration.                  We met

11      with our state leaders as well as our executive leadership

12      throughout the Horry County and Georgetown area and were

13      able to develop this plan.

14      Q     Okay.      So after 2014, there was a summit held with

15      other agencies from around the state.               Take me through how

16      this plan came about after that.

17      A     We actually had worked over the last several years in

18      Myrtle Beach to be able to develop plans that would help

19      with things that I've already mentioned.                   First, we

20      actually looked at Ocean Boulevard as this was the most

21      congested area.       And that was back in the late 90's.                We

22      provided a plan where we actually had blocked off 7th

23      Avenue North to 11th Avenue North in an effort to address

24      the most congested area to what we had determined.                     That

25      was a failure on our part.              It created more of a



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 1      party-like atmosphere in the roadway.

 2            So the next year, we looked at one-way traffic --

 3      excuse me, two-way traffic with an emergency lane on Ocean

 4      Boulevard.       That unfortunately, was not successful as well

 5      because we could not get our emergency vehicles -- we

 6      couldn't get fire trucks or EMS across traffic to the

 7      Boulevard to be able to respond to calls for service.

 8            Several years later, we -- and as we continued to

 9      work towards how to be successful with this event, we did

10      the one-way traffic pattern on south -- south lanes were

11      blocked -- or excuse me, southbound traffic was to the

12      public and northbound traffic was to our emergency

13      vehicles, to include fire, EMS, police, as well as our

14      wreckers.     And that was successful.           In 2015, we added the

15      traffic diversion plan to that.

16      Q     Okay.

17      A     That has been the most successful.              And that was the

18      plan that we came together with the Bikefest Task Force.

19      Q     Okay.      So in other words, what you're saying is

20      there's been four iterations of some type of regulation on

21      Memorial Day Weekend?

22      A     Yes, sir.

23      Q     And you've been a police officer in Myrtle Beach for

24      all four of those iterations?

25      A     I have.



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 1      Q     Which one was the most successful?

 2      A     The one that we are doing now, which is from 2015 on,

 3      the traffic diversion plan with the one-way traffic as

 4      well as with the traffic diversion plan.

 5      Q     Okay.      And this traffic diversion plan -- so you had

 6      the summit and then it went to a Coastal Alliance Group?

 7      A     Yes, sir.

 8      Q     Tell me about that.

 9      A     The Coastal Alliance is made up of all our local

10      majors, and then it goes to the Bikefest Task Force, where

11      we work together to address the concerns during Memorial

12      Day Weekend.

13      Q     Okay.      So when Memorial Day Weekend comes, you have

14      operation plans for each area?             Tell me how that works.

15      A     All of the municipalities in the area, obviously,

16      work together to address the needs of their area.                 We have

17      an operational plan here in Myrtle Beach.                 North Myrtle

18      Beach has an operational plan in their area, Horry County.

19      Then we work together as we meet at the Bike Task Force

20      and develop our plans together and fit them together to

21      address these issues, to address the weekend.

22      Q     Okay.      So you've got the City of Myrtle Beach

23      operations plan, an Horry County operations plan, South

24      Carolina Highway Patrol operations plan?

25      A     Correct.



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 1      Q     And they're all brought under this umbrella?

 2      A     Correct.

 3      Q     Of the Bikefest Task Force?

 4      A     Correct.

 5      Q     In your estimation in policing this event for all 22

 6      years that you were with Myrtle Beach Police Department,

 7      what would happen if this traffic loop was taken away and

 8      Ocean Boulevard was made a two-way street?

 9      A     I think we'd have some major public safety issues, to

10      include the issues where our calls for service would

11      increase.      We would have problems responding to calls for

12      service.      And when I say we, that would include all of our

13      public safety, to include fire, EMS, police would not be

14      able to respond to calls for service.              In addition to

15      responding for calls for service, the increase in time to

16      be able to respond.         So we would have major issues with

17      responding, and allover just a public safety incident.

18      Q     Sure.      And in your years of policing, you've policed

19      Memorial Day Weekend and Harley Week?

20      A     I have.

21      Q     Are those two events the same?

22      A     They are not.

23      Q     How are they different?

24      A     The population during Memorial Day Weekend is

25      significantly different as far as the numbers.                 The



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 1      attendees during Memorial Day Weekend concentrate in the

 2      Ocean Boulevard area.         During Harley Weekend, those areas

 3      are concentrated in Pawley's Island, Murrells Inlet,

 4      Little River, coming in and out of the city, not staying

 5      in the Ocean Boulevard area.

 6      Q     And that came about in 2009, is that your

 7      recollection?

 8      A     Correct.

 9      Q     What happened in 2009?

10      A     The city enacted some ordinances that many of the

11      Harley riders decided to boycott Myrtle Beach.                 And that

12      has continued from here -- from 2009 forward.

13      Q     Okay.      So they've maintained that boycott?

14      A     They have.

15                    MR. JAMES BATTLE:         That's all I have, Your

16      Honor.

17                    THE COURT:     Cross-examination?

18                    MR. COLFAX:     Thank you, Your Honor.

19                                 CROSS-EXAMINATION

20      BY MR. COLFAX

21      Q     Good afternoon, Chief Prock.

22      A     Good afternoon, sir.

23      Q     You discussed a little bit about some of the costs

24      that have already been expended by the City of Myrtle

25      Beach.    You're not suggesting that the judge weigh those



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 1      costs against the constitutional rights of the attendees

 2      of Black Bike Week for this?

 3      A      I am not.     That was a question that was asked of me,

 4      sir.

 5      Q      Okay.     Thank you.     You talked about this process you

 6      went through of evaluating traffic plans in the past and

 7      attending this summit.          Are there any analyses or data

 8      that you collected and looked at through this process that

 9      were not part of the preliminary injunction briefing that

10      has been submitted to the Court?             Is there some analysis

11      that we haven't seen?

12      A      Not to my knowledge.         We provided the calls for

13      service, we provided the response times.

14      Q      And then you talked a bit about the response times.

15      And that sounded like that was a significant aspect of

16      what you were looking at when deciding to implement that

17      loop; is that right?

18      A      That was one of many.

19      Q      Okay.     Was it a significant factor?

20      A      That was one of many, uh-huh.

21      Q      What other reasons would there be other than response

22      times for preserving that emergency lane access on Ocean

23      Boulevard?

24      A      I'm sorry, one more time?

25      Q      You said that there were many considerations going



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 1      into the traffic plan beyond the calls for service and

 2      response times?

 3      A     It's access.       We wanted to have -- be able to access

 4      Ocean Boulevard and the other areas in the city.

 5      Q     Okay.      And what data -- other than the response

 6      times, what data did you look at in terms of the

 7      effectiveness of having that dedicated emergency lane?

 8      A     Some of the complaints and concerns that came into

 9      the city.

10      Q     Did you receive complaints and concerns by attendees

11      saying that they could not move around the city because

12      traffic congestion was so bad because of the loop?

13      A     We have a very active neighborhood watch group, watch

14      groups throughout the city, so we're able to communicate

15      with our city residents.          So that was one, in addition to

16      several of our complaints that came in in reference to

17      congestion.       But these are some things that we evaluated

18      not only prior to the traffic loop -- or excuse me, not

19      only after the traffic loop, but prior to as well.

20      Q     But you heard Dr. Clarke testify that during Black

21      Bike Week in 2017, he observed that the traffic

22      conditions, he called it, was degraded; that the traffic

23      plan aggravated traffic and basically made traffic slow

24      and unstable.       Would you agree with that?

25      A     I wouldn't.



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 1      Q       You think traffic moved well during the loop hours

 2      during Black Bike Week 2017?

 3      A       I would say that it moved at a pace that was

 4      considerable for the pattern being put into play.

 5      Q       Okay.     But the pattern actually slowed down traffic.

 6      And you wouldn't dispute the fact that it could take

 7      someone as much as six hours to travel the entirety of the

 8      loop?

 9      A       We didn't measure the time.

10      Q       Wouldn't that be an important part of an analysis

11      that you would do to determine the effect of the loop on

12      the event?

13      A       I said our focus was on the actual calls for

14      servicing being able to respond, making sure that the

15      incidents and calls for service were being addressed.

16      Q       Let me --

17              If I may approach, Your Honor?

18              -- and show you what the city presented as its

19      Exhibit 24, which is the calls of service.

20                      THE COURT:    This is -- just so we're clear, this

21      is Exhibit 24 to the defendant's memorandum in opposition?

22                      MR. COLFAX:    Correct.

23                      THE COURT:    Okay.

24                      MR. COLFAX:    And I'm sorry, I only have one

25      copy.



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 1                  THE COURT:      That's fine.       We've got it.

 2      Q     The first year that the traffic loop and the traffic

 3      plan was put into place as the current iteration, that was

 4      2015, correct?

 5      A     Correct.

 6      Q     Of all of that data that you have in front of you of

 7      response times from the Myrtle Beach Police Department,

 8      2015 was the second highest response time; is that not

 9      correct?

10      A     It was.    It was the first time we put it in, you're

11      correct.

12      Q     So the traffic loop was unsuccessful in 2015 by your

13      measure because the response times were, in fact, longer

14      than 2012 and 2013?

15      A     That's your opinion.         In my opinion, it was something

16      that was the first time we put it into play.               We needed to

17      work at getting better.         And as you can see, went down to

18      2.47 in 2016.

19      Q     And what did you change to make it better?

20      A     We increased training, we increased equipment, we

21      evaluated it.

22      Q     And what evidence do you have that there was a causal

23      connection between those response times and the traffic

24      plan you put in place?

25      A     I don't.     What I have is the knowledge of my team and



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 1      I have the knowledge of the officers that were on scene

 2      and I have the knowledge of those that evaluated it along

 3      with me.

 4      Q       But you did not do any analysis of the actual

 5      movement of traffic --

 6      A       I did not.

 7      Q       -- in the loop?

 8      A       I worked with the Department of Transportation when

 9      we put the plan together, in addition to the other members

10      of our task force who assisted with the traffic loop.

11      Q       But you did receive -- the Myrtle Beach Police

12      Department did receive numerous complaints from tourists

13      in the area during Black Bike Week complaining about the

14      traffic that was created by the one-way traffic plan of

15      the loop?

16      A       We did, which is why we increased our social media,

17      our outreach to our community, our outreach to our

18      visitors so that they would be aware of what they needed

19      to know before they came to Myrtle Beach to address the

20      areas with the traffic loop.

21      Q       Your counsel talked about the fact that the Bikefest

22      Task Force has some responsibility related to the traffic

23      plan.     But you stated in your affidavit that the city, and

24      I assume that's probably you, have the power to close the

25      loop at any time if the city so desired?



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 1      A      The city in conjunction with those members of the

 2      task force.

 3      Q      Well, in your declaration, did you not say the city

 4      can close the loop?

 5      A      The city can, but the city in conjunction.              I work

 6      with my partners.

 7      Q      If you, for whatever reason, couldn't get ahold of

 8      your partners and you decided to close the loop, you could

 9      do that?

10      A      If it was an absolute emergency and that would be

11      necessary, yes, sir, just like they would as well.

12      Q      And when you close the loop, that would be the

13      entirety of it from the area in Myrtle Beach's

14      jurisdiction as well as outside?

15      A      I wouldn't be working outside of my jurisdiction,

16      sir.

17                  MR. COLFAX:      Thank you.      Nothing further.

18                  MR. JAMES BATTLE:          Just briefly, Your Honor.

19                              REDIRECT EXAMINATION

20      BY MR. JAMES BATTLE

21      Q      Chief Prock, was there ever a fire at a hotel during

22      Memorial Day Weekend?

23      A      There was.

24      Q      Tell me about that.

25      A      Landmark Resort, two years ago -- or excuse me, three



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 1      years ago where we could not respond to the incident quick

 2      enough to be able to assist those getting out

 3      appropriately.

 4      Q     And what did the fire personnel have to do?

 5      A     Actually had to wait until we had a significant

 6      amount of people to be able to block traffic in order to

 7      get to the incident itself.

 8      Q     Okay.      Have you heard of EMTs having to walk to

 9      emergency situations?

10      A     Yes, especially during 2014 when we had nine

11      shootings.

12      Q     Okay.      Last year, 2017, there was a fatality,

13      motorcycle accident on Oak Street?

14      A     There was.

15      Q     Tell me about that.

16      A     We had -- it was just close to evening hours, at

17      dusk, and a motorcyclist was exceeding the speed limit at

18      Oak Street.       And a vehicle had pulled out and the vehicle

19      did not see him.        And unfortunately, he had missed -- the

20      vehicle missed the motorcyclist and he passed.

21      Q     Okay.      And so that was in 2017?

22      A     It was.

23      Q     Have we made changes to accommodate that situation

24      for this upcoming weekend?

25      A     We have.



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 1      Q     Okay.      Tell me about that.

 2      A     What we do when -- every year, we have an

 3      after-action report.         As several people have alluded to

 4      today, we've evaluated the after-action report to include

 5      our traffic congestion area in addition to traffic

 6      enforcement.       That was one of the directives that we added

 7      is the Oak Street area because it has been used as a -- as

 8      parallel to Kings Highway and to the bypass.                And it was

 9      seen as an area where some of our motorcyclists were

10      utilizing excessive speed.

11      Q     Okay.      So that's a change that's occurred from 2017

12      to 2018?

13      A     Yes, sir.

14                    MR. JAMES BATTLE:         No further questions, Your

15      Honor.

16                    THE COURT:     All right.

17                    You can step down, Chief.

18                    THE WITNESS:      Thank you.

19                    THE COURT:     I'd like to proceed to some

20      questions we have.         Our court reporter is good and she'll

21      let me know if we need to take a break.               Thank y'all for

22      working efficiently to get a lot of information for us to

23      consider in that period of time.             We appreciate that.

24                    I have a series of questions.           I'm going to

25      start with the plaintiff.           Then I have one for the



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 1      defendant.       Who I'm starting with doesn't suggest anything

 2      other than I started with the plaintiff.                  So let me

 3      address these.       And many of these have been already

 4      accomplished.

 5                   I asked -- Mr. Colfax, I asked Mr. Battle if

 6      there were any permitted events within the city for either

 7      Bikefest or Harley Week and he said no.               Do you agree with

 8      that?

 9                   MR. COLFAX:      To my understanding, yes.           And I

10      would imagine he would be the keeper of that knowledge.

11      The city would issue the permits.

12                   THE COURT:      I figured.      And likewise, is there

13      any -- in either week, are there any non-permitted events

14      that are somewhere on a schedule in the city that says,

15      hey, at this time we're doing this within the city for

16      either of the weeks to your knowledge?

17                   MR. COLFAX:      I am not aware of any.           I, like

18      Mr. Battle, have an understanding that a substantial

19      amount of the Harley riders go and do events in and around

20      Murrells Inlet.       And, similarly, during Black Bike Week, a

21      lot of the riders go up to the Atlantic Beach area.

22                   THE COURT:      Okay.      We talked a little bit about

23      Judge Wooten's order.         You included that in some of your

24      presentation and I think already discussed the fact that

25      this Court, at least on the legal side, you were really I



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 1      think talking about the factual record, particularly about

 2      comments.    And -- but I think you acknowledged -- and I

 3      just want to make sure that we're clear on the standard

 4      that this Court needs to apply.            My understanding from the

 5      research we've done is that we need to apply the standard

 6      that the Supreme Court set out in Winter and the Fourth

 7      Circuit has adopted in the Real Truth About Obama case,

 8      which is different than the Blackwelder standard that was

 9      in place before.       Your presentation tracked that, so it

10      looks like we're in agreement with that?

11                  MR. COLFAX:      I believe we are in agreement, yes.

12                  THE COURT:      All right.      Now, we talked about --

13      while we're talking about standards, the mandatory versus

14      prohibitory issue, and you and I already covered the

15      challenge of discerning exactly what that means.                But I do

16      want to deal with this issue about, I guess, whether it

17      is -- that the relief the plaintiff seeks is seeking to

18      maintain the status quo or alter the status quo.

19                  And I understood the arguments.              I think you

20      were twofold.      One was that it was maintaining the status

21      quo because you considered the status quo the situation

22      during the rest of the year other than Memorial Day

23      Weekend.    I understood that.         And then I think you also

24      claimed that the last, I guess, non-disputed time was back

25      before 2014, correct?



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 1                  MR. COLFAX:      That is correct.

 2                  THE COURT:      Those were the two arguments you

 3      made?

 4                  MR. COLFAX:      That's correct.

 5                  THE COURT:      I may have misstated them a little

 6      bit.

 7                  MR. COLFAX:      You did better than I did.

 8                  THE COURT:      Well, I doubt that.          I don't have a

 9      question about the first issue you talked about.

10                  But regarding the second issue about going back,

11      and I read the cases that you cited in your brief, but I

12      did not see a case that, in all candor, went back over

13      three years like this and claimed that was the last

14      contested week.      And so it looks like the position, while

15      I understand it, is going back further in time than the

16      authority you cited.        Would you agree with that?

17                  MR. COLFAX:      I would agree with that.          I think

18      that this situation is a bit unique because you have --

19      and it really goes to both arguments because you have just

20      an event that happens at one point in time.                So, yes, you

21      could look at it as going back three years or also as just

22      this is -- there have been three events that have

23      occurred.

24                  So it's not like there isn't a policy or a law

25      that's been in place for three years.             It is -- and I



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 1      anticipate the city would not disagree with the concept of

 2      they look at this every year, or at least we hope that

 3      they look at it every year, and make an independent

 4      decision of what sort of traffic plan we should put in

 5      place.

 6                  THE COURT:      Why didn't the city -- why didn't

 7      the plaintiff bring suit before the 2015, '16, or '17

 8      events?

 9                  MR. COLFAX:      I think primarily -- and there was

10      some discussion about this with Chief Williams is they

11      hoped to work it out.        The plaintiffs and the NAACP, in

12      particular, has been through this before.

13                  THE COURT:      Sure.

14                  MR. COLFAX:      And got a result that I think they

15      were satisfied with and helped the event for that time

16      period that the consent order was in place.

17                  But, you know, when it came back, I think the

18      first reaction was let's see if we can work it out.                 And

19      that's why Chief Williams came up.             He's articulated, you

20      know, I might not have given the plan I wanted to, but I

21      gave sort of a compromised plan that hopefully we could

22      make it better than this extraordinarily restrictive plan

23      they have in place.        And of course, the first time the

24      plaintiffs would have been aware of it would have been in

25      2015.



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 1                  THE COURT:      That's right.

 2                  MR. COLFAX:      2016 and even before 2017, Chief

 3      Williams was proposing some alternative and nothing was

 4      accepted.

 5                  THE COURT:      And that question, I don't think,

 6      goes to ultimately who will prevail in the lawsuit, but I

 7      think it's pertinent to the injunction situation we're

 8      dealing with and my followup is related to that.                 Are you

 9      aware in the cases you cited where a court has awarded an

10      injunction after an event that's been in place three

11      years?    And you've made a distinction that it's not

12      continuous in effect for three years.              Set that issue

13      aside, which I understand.             But, you know, when you've had

14      an event that, at least, has recurred for three years

15      where a court intervened and issued an injunction with

16      that period of time?

17                  MR. COLFAX:      I am not aware.        You know, in some

18      of the parade cases, I truthfully don't know the history

19      of whether folks had attempted to, like, march in their

20      parade in their uniforms in prior years or not.                 I don't

21      know.

22                  THE COURT:      Okay.

23                  MR. COLFAX:      But again, I think it is

24      significant to note that when you're looking at the

25      potential violation of folks' constitutional rights.



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 1                  THE COURT:      Right.

 2                  MR. COLFAX:      The fact that an event has occurred

 3      or even if a policy -- or unconstitutional law or policy

 4      has been in place for some substantial period of time, it

 5      really should not be a significant factor to that person.

 6      And of course, we have individuals here, some had been to

 7      past Black Bike Weeks, some had not, that they -- they are

 8      somehow, you know, not weighed the same, their interests

 9      are not weighed the same given the fact this has been in

10      place for a substantial period of time.              And of course,

11      part of our argument, of course, is that the city should

12      have looked at the actual results of this traffic plan.

13                  THE COURT:      Right.

14                  MR. COLFAX:      There's this -- we want --

15      everybody wants this to be a safe event.                 And if the

16      traffic plan -- if they came in with some analysis and

17      showed us, yes, this traffic plan actually works, then

18      there would be a different reaction.             We wouldn't be here.

19      So it would take some time for the plaintiffs to see it's

20      not working.

21                  THE COURT:      Right.

22                  MR. COLFAX:      The promise that this is going to

23      make this a safer event has not actually come true.                   So

24      we're going to try to work with them.             If it works, great,

25      we can come to some compromise; if it doesn't, here we



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 1      are.

 2                  THE COURT:      And again, I think those points -- I

 3      get the constitutional part.           I think where you're talking

 4      about constitutional violations, the irreparable harm

 5      issue is very different than if you're not.               So we get

 6      that analysis.      But the other issues I hear, you may be

 7      less -- may be more appropriate for the ultimate

 8      disposition than an injunction, but perhaps not.                So I

 9      understand that.

10                  Let me -- you mentioned the consent order.                 And

11      I know you've got -- co-counsel handed you a note.                 If --

12                  MR. COLFAX:      It's fine.

13                  THE COURT:      I was just in your shoes not too

14      long ago and I got handed things that I overlooked.                 So if

15      you want to follow up on any point.

16                  MR. COLFAX:      No, that's fine.        That was

17      something they don't teach you in law school, but you've

18      got to learn really fast when you stand up in court that

19      information will be coming from all sides.               You've got to

20      process it and keep going.

21                  THE COURT:      No, you're doing great.         All I'm

22      saying is don't worry about if you get information and

23      want to go back at any point, that's no trouble.

24                  MR. COLFAX:      I appreciate it.

25                  THE COURT:      The consent order, and I don't have



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 1      that at my fingertips, it's in our record, but I think my

 2      memory is that the parties agreed in '05, I think around

 3      '05 to a plan that, in essence, was this.                 In essence, was

 4      that there needed to be similar traffic regulations

 5      from -- up until midnight.             And I think till some -- like,

 6      2 o'clock, from 2 o'clock p.m. until midnight.                 And then

 7      after midnight until 2 o'clock the next day, the city had

 8      discretion about what plan it could put in place.                 Is that

 9      your understanding in a real probably crude and rough way?

10                  MR. COLFAX:      Yeah, and I think you're right, the

11      key to it was the two events would be treated equally.

12                  THE COURT:      But was that the required -- was

13      that required after midnight?

14                  MR. COLFAX:      I don't think -- I think you're

15      correct, it was not required after, right, for the primary

16      period of time where the plaintiffs had whatever.                 I

17      wasn't counsel at the time.

18                  THE COURT:      Okay.

19                  MR. COLFAX:      For whatever reason, that they had

20      the greatest interest of what the traffic plans would be,

21      the requirement would be they would be treated equally.

22                  THE COURT:      And I don't know everyone's intent.

23      I certainly wasn't involved either.              But I do believe that

24      the -- and that consent order, it allowed for different

25      treatment after midnight until 2 the next afternoon, I



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 1      think.

 2                   MR. COLFAX:     I think you're correct.           I

 3      definitely have no reason to dispute that.

 4                   THE COURT:     All right.

 5                   MR. COLFAX:     I anticipate, though, the

 6      differences were significant and there wasn't some very

 7      good explanation of why, then probably be back in front of

 8      Judge Wooten.

 9                   THE COURT:     Probably had to be rationally based

10      in some way.     That's fair enough.

11                   So -- and just to the other point, I think we

12      talked about this, that the standard for an injunction had

13      changed, I think, in '08 when the Winter case came out and

14      very recently when the Real Truth About Obama case came

15      out.     I think that -- I know you mentioned earlier that

16      there was in some sense a more developed record because

17      discovery had taken place.             I appreciate that.      Is there

18      any --

19                   And I'll ask this of the city, too.

20                   But whatever the record was, whether it was more

21      advanced or not, would you -- it's a different record

22      before us than it was in front of Judge Wooten.                    Do you

23      agree with that?       Maybe you don't, maybe you don't think

24      it's a material difference.

25                   MR. COLFAX:     It's a different record.



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 1                  THE COURT:      Right.

 2                  MR. COLFAX:      Aspects of that record is relevant

 3      to the -- are relevant to the decision today because the

 4      history of the traffic plans for Black Bike Week is

 5      relevant under Arlington Heights.

 6                  THE COURT:      I understand that.

 7                  MR. COLFAX:      So that record, you know, is

 8      certainly relevant.        I think the most significant aspect,

 9      and the one that is worth focusing on, is how much more

10      restrictive this traffic plan is.            And that there is not

11      additional analysis or data collection that has been done

12      to explain why, you know, we had a traffic plan that was,

13      you know, rejected as likely discriminatory back in 2005,

14      and now we have a plan that is even more restrictive.                   It

15      seems, if anything, that would heighten the awareness of

16      the city of we've got to really button this up and shore

17      up why we're doing this.

18                  THE COURT:      There is an intermediary decision

19      that is part of the history, too, that I know you have a

20      view on.    The city has a different view.               And I -- but

21      there is something that said that injunction is stayed.

22      Whatever the reason, you point out that it's not the most

23      robust opinion ever and that may be significant.                 I don't

24      know what it means.

25                  MR. COLFAX:      Right.     I agree with you.        I



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 1      can't -- we can't read what Judge Luttig had in mind or

 2      why he stated with no comment on the merits.

 3                   THE COURT:      Let me ask you -- and I'm getting

 4      near the end.       I appreciate your answering these

 5      questions.       In some of the things, I think these are a lot

 6      of the plaintiff's exhibits or most of these came from the

 7      plaintiffs, there was -- it may have been some of the

 8      emails that responded to the citizen or local complaints.

 9      But the point that -- and you identified some of the

10      language there that, you know, that is concerning to the

11      plaintiffs and, quite frankly, regardless of how I'm going

12      to rule, to the Court, too, for that matter.

13                   But it looks like those documents show that the

14      Harley Week attendees got equally mad at the city.                  And

15      after '08, '09, and I think there was the helmet issue and

16      there was something to do with the muffler issue, at least

17      the record before me looks like the Harley Week folks got

18      mad at the city, too.         And you know, we haven't heard from

19      a Harley Week witness, so to speak.              Well, maybe we did.

20      There may be some declarations of people who attended.                      I

21      think there were, in fact.

22                   MR. COLFAX:      Right.

23                   THE COURT:      But I guess my point is, does the

24      fact that both participants in Bikefest and participants

25      in Harley Week in different times have been mad about



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 1      regulations show that the regulatory efforts of the city,

 2      whether they're the best regulations in the world, aren't

 3      racially motivated?

 4                  MR. COLFAX:      Well, I don't think so.          And

 5      particularly because we have to look at the regulations

 6      that are before us now, and traffic plan for Black Bike

 7      Week, nothing for Harley Week.            The helmet law applied

 8      across the board.

 9                  THE COURT:      Right.

10                  MR. COLFAX:      The nuisance ordinances that also

11      made bikers angry applied across the board.                But this is

12      an instance where it's not applied across the board.                  It

13      is only applied to Black Bike Week.

14                  THE COURT:      I understand.

15                  MR. COLFAX:      And we don't know that, you know,

16      the purpose of the helmet law or the other ordinances was

17      to end Harley and Black Bike Week, right?                So I don't

18      think -- because they are taking some actions that apply

19      to both, in a way -- that are in a way adverse to both

20      events, I don't think suggest that this is equal

21      treatment, equal bad treatment by the city, right?                  It is

22      some -- obviously, it's some acts by the city of the

23      events.    But I don't know that we can read into it that

24      they -- they're trying to end both events.

25                  THE COURT:      Whatever event -- whatever



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 1      inferences come from that, you would concede, I think

 2      under Arlington Heights, that's part of the history, too,

 3      whether the inferences of it, you know, may be different

 4      from the city and the plaintiff.             But we should look at

 5      the history with all the information as part of that

 6      Arlington -- I think it was the Arlington Heights factors

 7      for discriminatory intent.             Is that correct?

 8                  MR. COLFAX:      So Arlington Heights would ask us

 9      to look at the history of the development and

10      implementation of the acts -- of the act that's being

11      challenged.

12                  THE COURT:      Yes, sir.

13                  MR. COLFAX:      So the act that's being challenged

14      is the traffic plan.        So going back through history in all

15      aspects of how the city has treated traffic for Harley

16      Week, for Black Bike Week, for other similarly situated

17      events, I think all of that is relevant.                  Other acts that

18      the city may take against either Black Bike Week or Harley

19      Week begins to be much more removed from that history if

20      it's not somehow linked to the traffic plan that's

21      actually being challenged.

22                  So to the extent, you know, there is bad

23      treatment of Harley Week, I don't think that is, you know

24      -- I don't think there's any basis to infer that that is,

25      you know, a finding that could be relevant here that Black



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 1      Bike Week is being treated just the same as Harley Week.

 2                  THE COURT:      Is there a traffic -- this was

 3      mentioned in the briefs.         Is there a traffic loop that

 4      Atlantic Beach employs during Memorial Day Weekend?

 5                  MR. COLFAX:      My understanding that there is some

 6      form of a traffic loop, but it is very small.                And it is

 7      short and small.       I don't exactly understand how -- I have

 8      not observed it.       And in 2017, our experts didn't get

 9      there to observe it.        But beyond that, I don't know.

10                  THE COURT:      Okay.

11                  MR. COLFAX:      Beyond the fact that it's short and

12      small and have no knowledge -- and I don't think there's

13      any knowledge or any evidence in the record about the

14      impact of that on traffic.             I mean, the mere fact it's --

15      that there is a traffic loop does not suggest that of

16      itself that it's in any way equal to what's happening in

17      Myrtle Beach.

18                  THE COURT:      The plaintiff's objected to three

19      videos that the city attached.             And I understand the

20      objection was that they weren't -- I think it was that the

21      foundation for them had not been established for purposes

22      of this hearing.       The Court overruled that objection.              I

23      addressed that earlier.

24                  Is there a belief -- and you're entitled to

25      challenge it just on the foundation basis.                But is there a



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 1      belief on the plaintiff's standpoint that those were not

 2      true and accurate depictions of events during Memorial Day

 3      Weekend 2014?

 4                   MR. COLFAX:     Well, to a large extent, our

 5      objection to the video was preserving an objection

 6      depending on how the defendants might possibly use it.

 7      For example, the so-called block party videos where

 8      there's a video of folks dancing in the street, it appears

 9      to us that was actually happening on Kings Highway.

10                   THE COURT:     Okay.

11                   MR. COLFAX:     And not on Ocean Boulevard.           So if

12      that is being introduced to suggest we need to control

13      traffic, keep traffic and people off of Ocean Boulevard,

14      doesn't seem to be relevant evidence.             And so to that -- I

15      have no idea whether or not that actually happened during

16      Black Bike Week.       You know, I've seen it on the internet

17      and I don't know if the city got it off the internet as

18      well.     So we're just taking whoever posted's word that it

19      happened at Black Bike Week, but I have no reason to say

20      it was not.

21                   THE COURT:     That's what I was getting at.           We'll

22      have to deal, perhaps later, with more precise evidentiary

23      issues.    But you've answered my question.

24                   MR. COLFAX:     And I would just mention on the

25      shooting video, again, it's -- I think it's the same



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 1      thing.    I mean, I have no reason to dispute that that's

 2      not -- or dispute that that is a video of the -- of one of

 3      the shootings that happened during the 2014 Black Bike

 4      Week.

 5                  But I also don't want to get into, you know,

 6      videos of violence in Myrtle Beach through the years.                  As

 7      we talked about in our brief, there was a shooting during

 8      Father's Day that was actually played live on Facebook as

 9      it was happening.       And again, obviously, the city didn't

10      react to that by saying let's put in a traffic plan during

11      the whole summer because this could happen at any time and

12      we need to be able to access and respond to emergencies

13      and sort of curb violence.

14                  So I think that's the primary objection to that

15      is really what's the relevance of that shooting?                Just

16      seeing the fact that it happened relative to the traffic

17      loop that we're discussing?

18                  THE COURT:      Okay.      I about asked a question that

19      probably was improper.         Not the topic, I hope.

20                  Respond, please, to the argument that the city

21      made that the Court's jurisdiction is limited in terms of

22      the relief sought because it necessarily involves entities

23      that are not parties to this case.

24                  MR. COLFAX:      Well, we made some arguments in our

25      brief, which I'll get to in a second.



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 1                  THE COURT:      Okay.

 2                  MR. COLFAX:      But Chief Prock just said the city

 3      can close the loop.        If the situation so demanded, the

 4      city could end the loop on its own accord.               And so, if the

 5      Court were to order the city not to participate in the

 6      loop, at least the loop within the jurisdiction of the

 7      city could be ended.        And the loop outside the

 8      jurisdiction of the city just would be essentially

 9      irrelevant at that point, right?            Because, obviously, the

10      loop is all about Ocean Boulevard.             I don't think anybody

11      disputes that, right?        It's getting cars -- controlling

12      how cars get on and off Ocean Boulevard and then pushing

13      them a long way around to keep them out of Myrtle Beach

14      for as long as possible and putting them back at the

15      beginning of Ocean Boulevard.

16                  THE COURT:      The task force, you don't believe,

17      and the entities that composed it, are necessary parties

18      to this lawsuit?

19                  MR. COLFAX:      I don't see that they are.          The

20      task force itself is not an entity that could command that

21      the City of Myrtle Beach do anything.

22                  THE COURT:      But it was the group -- you're

23      right, it's kind of an affiliation of some sort, maybe

24      without binding authority on any of the occupants, other

25      than to the extent they agree to be part of it.                But that



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 1      is the group, isn't it, that decided on the traffic plan?

 2                  MR. COLFAX:      They developed the traffic plan.

 3      But the traffic plan, you know, regardless of what the

 4      Bikefest Task Force says, each individual jurisdiction

 5      necessarily has to approve it, right?             I'm certain that if

 6      Chief Prock -- if the Bikefest Task Force said let's put

 7      in -- you know, let's eliminate the loop and Chief Prock

 8      said, okay, I'll do that, the city council would have

 9      something to say about that, right?             The city council

10      could say, oh, no, we're doing it, at least within our

11      jurisdiction.

12                  So, yes, they can voluntarily get together and,

13      you know, the Bikefest Task Force makes a recommendation.

14      But ultimately, it's clear the ultimate decision makers

15      have to be each one of those local governments.                They

16      could not submit themselves to some other jurisdiction to

17      make the decision more --

18                  THE COURT:      But they do have -- those local

19      governments have a role in both the decision that was --

20      that ended up being the plan that was challenged and the

21      enforcement of that.        You would agree with that?

22                  MR. COLFAX:      Well, I -- that's what's suggested.

23      But you may have seen in the declaration from Atlantic

24      Beach, I think it was the city manager, he said he had no

25      idea this was happening.         Atlantic Beach is supposed to be



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 1      on the Bikefest Task Force.             So again, at this stage of

 2      the case, I don't know exactly what happened in those.

 3      But I think it's only -- the key here is, ultimately, the

 4      City of Myrtle Beach has to decide what it's doing on its

 5      roads within its jurisdiction and which it controls.                  And

 6      its officers are the ones that are at all those

 7      intersections and along the street within the City of

 8      Myrtle Beach.      That's their call.

 9                  THE COURT:      Okay.

10                  MR. COLFAX:      Ultimately, it's their call,

11      regardless of what the Bikefest Task Force is suggesting.

12                  THE COURT:      Assume hypothetically -- and I know

13      you dispute this, the whole basis is contrary to it, so

14      I'm not in any way -- but as a proposition of law, if

15      there were -- if we were to hypothetically assume that

16      these events were not substantially similar, do the

17      plaintiffs agree that it would be appropriate for the city

18      to regulate them differently?

19                  MR. COLFAX:      If Harley Week and Black Bike Week

20      were not substantially similar?

21                  THE COURT:      Yes, sir.

22                  MR. COLFAX:      Well, certainly, they could

23      regulate them differently.             However, they would have to

24      have some more than rational basis, some strong basis for,

25      first, showing they're not similarly situated.                 And



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 1      because of the lack of similar situation, here's how we're

 2      treating them differently.

 3                  THE COURT:      Right.

 4                  MR. COLFAX:      There's got to be a link to the

 5      difference in how the events are to the difference in

 6      terms of the regulations.

 7                  THE COURT:      If there is -- hypothetically, if

 8      they're different events, is that not an essential element

 9      that defeats an equal protection claim?

10                  MR. COLFAX:      Again, it depends on how you

11      measure similarly situated.            And what we would argue is

12      that similarly situated has to be viewed within the

13      context of the action being challenged --

14                  THE COURT:      Okay.

15                  MR. COLFAX:      -- right?      If there are differences

16      between Black Bike Week and Harley Week, do those

17      differences impact the action challenged in any way or

18      somehow justify the difference in how the two events are

19      being treated?

20                  THE COURT:      When -- I'm getting notes, too.

21                  So if you could -- during your presentation,

22      your oral presentation before the witnesses came up, I

23      asked you a couple of questions about the First Amendment

24      claim and I want to follow up on that.             Do you contend the

25      loop has an adverse effect on the First Amendment rights



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 1      or is that the one lane only?            Or explain how the loop

 2      relates to the First Amendment rights.

 3                  MR. COLFAX:      Well, I would say it's both and

 4      either effect the First Amendment.             Because from the

 5      evidence that we saw, both in the time period when there

 6      was just the one-way traffic restriction in place as well

 7      as the loop in place, it was very difficult for people to

 8      travel around Myrtle Beach.            They did not want to take

 9      their motorcycles out because it was actually bad for

10      their motorcycles.       They couldn't actually travel because

11      they had to -- because of this overheating and idling

12      problem.    People could not go out to events or celebrate

13      being there in Myrtle Beach because they just didn't want

14      to go outside because they would get stuck in the loop and

15      be stuck in traffic for hours and hours and hours.                 And

16      that's regardless of whether it's the one-way plan or the

17      loop.    So really, what we're talking about is the

18      infringement is that it makes it very difficult to do the

19      activities that are part of the Black Bike Week experience

20      to such an extent that some people don't even travel to it

21      anymore.

22                  THE COURT:      Do you -- I think I referred to this

23      during Mr. Battle's presentation about one of the

24      considerations under some of the law about First Amendment

25      claims is the public perception of the purpose.                I asked



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 1      him if he had any evidence, I think he volunteered that he

 2      didn't.     I asked him if he was aware of y'all submitting

 3      any evidence on that.        I don't recall that other than what

 4      you submitted from the participants.             Is that about -- a

 5      fair reading of the record at this point?

 6                   MR. COLFAX:     That's a fair reading.          I think

 7      it's consistent with how these First Amendment cases are

 8      generally litigated and resolved is that courts look at

 9      the purpose of the participants in the event, whether it

10      be a parade or attending Black Bike Week.                And I have not

11      seen cases where there's any sort of analysis of, you

12      know, the actual evidence of how it's perceived from the

13      spectators because, oftentimes, the speech never gets

14      to -- that doesn't actually happen, right?                So in the

15      parade, like in the Latino officer's case, they never --

16      they -- until the court case, they didn't get to march in

17      their uniforms because that -- the statute prohibited it.

18                   THE COURT:     But this is different.          I mean, we

19      have, as you pointed out, a multi-year history, admittedly

20      in the plaintiff's view diminished of late, but it's been

21      going on.     And so anyway, I'm not arguing with you.                I

22      just point that -- anyway, that's not a question so I

23      apologize for that.

24                   Last point, if the Court were inclined to grant

25      the plaintiff's relief, is the plaintiff prepared to post



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 1      a bond?

 2                  MR. COLFAX:      I think it would depend on what the

 3      bond would be, you know, what the amount would be but,

 4      yes, to the extent that that would be necessary.                And I

 5      think it would have to be linked to something that is

 6      actually a cost that may be borne by the city.                But they

 7      talked about the expenses that they have incurred up to

 8      this point, but they haven't -- those expenses are -- have

 9      been spent whether the traffic loop is in place or not

10      and, in fact, there are going to be more expenses they

11      stated will come.

12                  THE COURT:      I didn't mean to interrupt you.

13      I'll ask them their position on the bond, too.                But, I

14      mean, the rule I think requires a Court that grants an

15      injunction to assess and address that and post one in

16      accordance with the law.         And I just wanted to make sure I

17      understood your position on that.            And it may depend on

18      what they say is needed.

19                  MR. COLFAX:      Right.     I guess that's part of my

20      hesitation is not really understanding what the bond would

21      potentially cover in terms of a cost, if they would --

22      because I would imagine it would -- I don't imagine, I

23      know it would be less cost if they put in the non-plan

24      that they have for Harley Week for Black Bike Week.

25                  THE COURT:      Well, I don't want to speak for



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 1      them, but they may -- if they view that as insufficient

 2      for public safety reasons, they may feel other steps need

 3      to be taken.     So I don't know.         But anyway, I appreciate

 4      your responding to my questions.

 5                  MR. COLFAX:      Thank you.

 6                  THE COURT:      Yes, sir.

 7                  Mr. Battle, if I could ask you a few?               We talked

 8      about the -- I don't know if I talked about it with you at

 9      all, but Judge Wooten's order from back earlier.                 And it

10      sounds like neither of y'all were counsel of record in

11      that case, so we're all, I guess, fresh in this one.                    But

12      it seems to me that by almost necessity, the record that

13      is before this Court at this time, while it may encompass

14      certain parts of the prior record as has been presented,

15      is a different record because we have testimony of people

16      who talked about events since that time.                 Do you agree

17      it's a different record?

18                  MR. MICHAEL BATTLE:         I agree.

19                  THE COURT:      I want to turn to the stay.           How --

20      I was -- I was a little surprised the plaintiffs didn't

21      mention the stay in their briefs and I was a little

22      surprised the city, you know, described it as it had when

23      the order of staying the injunction expressly said it

24      expresses no opinion on the merits.             Is it the city's

25      position that when the Court of Appeals expresses no



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 1      opinion on the merits that it actually did express an

 2      opinion on the merits?

 3                  MR. MICHAEL BATTLE:          What I intended to say, I

 4      may not have communicated it very well, is that they are

 5      saying this is not a situation that requires a preliminary

 6      injunction from the court, period.

 7                  THE COURT:      Okay.      Do you -- on the mandatory,

 8      prohibitory injunction standard, do you have anymore

 9      guidance?    And I'm not ruling at this point that this is a

10      mandatory or a prohibitory injunction, that's something

11      we've got to decide.

12                  MR. MICHAEL BATTLE:          Yes.

13                  THE COURT:      But hypothetically, assume I were to

14      agree with the defendant, that it's a mandatory

15      injunction, can you tell me what that is other than to

16      issue it sparingly and use a more seeking eye?

17                  MR. MICHAEL BATTLE:          The reason I say it's the

18      status quo, and I could go back to my --

19                  THE COURT:      I don't need -- I'm not -- I'm

20      sorry, I asked a poor question.            I appreciate both sides

21      arguments on why it's a -- why it is and why it is not a

22      mandatory injunction.        I didn't mean to ask that question.

23      I'm asking you if it is a mandatory injunction, what's the

24      standard, what's the Court to do different than it would

25      if it was a prohibitory injunction?



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 1                  MR. MICHAEL BATTLE:         The case I cited stated

 2      that if it's a mandatory injunction, the kind of damages

 3      that have to be inflicted upon the moving party, the

 4      petitioner, have to be, and I'll quote, severe.

 5                  THE COURT:      Aren't constitutional violations

 6      just inherently severe enough to meet any sort of damages

 7      standard?

 8                  MR. MICHAEL BATTLE:         If you look at the Memphis

 9      vs. Green case --

10                  THE COURT:      Yes, sir.

11                  MR. MICHAEL BATTLE:         -- where they talk about

12      where they took a road, closed it off and prohibited

13      traffic from going through it, they talked about those

14      kinds of damages.       The exact same types of damages that

15      these people are describing were described and discussed

16      by the US Supreme Court in that case.             And they went on to

17      talk about the quote of the 13th Amendment and the badge

18      of slavery and that sort of stuff.             And they said this is

19      not the significant kinds of damages that we're talking

20      about that would justify claiming this is a constitutional

21      amendment -- or a constitutional violation that would

22      justify the kind of interruption or interference from the

23      Court.

24                  THE COURT:      So they said in that case -- and I

25      know the plaintiff pointed out differences in that in the



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 1      brief.    And I'll look at that again.           But they pointed out

 2      in that case that when -- even in the face of

 3      constitutional violations, that that was not enough to

 4      justify an injunction in that case?

 5                  MR. MICHAEL BATTLE:         That is my reading of it.

 6                  THE COURT:      All right.      We'll look back at that.

 7                  Now, the -- is it the city's position that at

 8      least since 2008 or '9, the events -- that Bikefest and

 9      Harley Week have been different events and not

10      substantially similar?

11                  MR. MICHAEL BATTLE:         Yes.    Since 2009, the --

12      for some reason, the Memorial Day Weekend or Black Bike

13      Weekend people were not offended by the helmets, the

14      helmet law.      I had to argue that in the Supreme Court.

15      The Harley Week people were very offended by it.                You also

16      had the issue of the muffler.           And we were doing tests on

17      the Harley Week mufflers and that sort of thing and that's

18      when it changed.       It changed drastically then.

19                  THE COURT:      All right.      So since '09, the city

20      believes that these -- at least since '09, the city

21      believes these two events have been different, not

22      substantially similar, correct?

23                  MR. MICHAEL BATTLE:         That's correct.

24                  THE COURT:      But isn't it true that from 2009 to

25      2015, the city nevertheless regulated them the same?



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 1                   MR. MICHAEL BATTLE:         I don't -- I think that

 2      they had one-way traffic and the emergency lanes during

 3      that time and that's what they needed.

 4                   THE COURT:     But whatever it was, it was the

 5      same?

 6                   MR. MICHAEL BATTLE:         I'll have to check.       It was

 7      not the same.      It was not regulated the same.

 8                   THE COURT:     Okay.      Maybe that's something we'll

 9      develop further.       I saw the police chief nodding.

10                   MR. MICHAEL BATTLE:         She knows much better than

11      I do.    I wasn't really prepared for that question.

12                   THE COURT:     I can't take a nod as evidence, but

13      I appreciate that being an issue that may be deserves

14      further --

15                   MR. MICHAEL BATTLE:         It's certainly a matter

16      that's sharply contested.

17                   THE COURT:     I think this was discussed by --

18      maybe in direct, but certainly in cross-examination, that

19      there is a -- is there another event in which the city

20      employs a traffic loop of any sort?

21                   MR. MICHAEL BATTLE:         I would say that the

22      traffic loop -- you have a detour.             It's not one that goes

23      23 miles.     But there are -- we just last -- I say two

24      weeks ago, we had to close down a major portion of Kings

25      Highway for the air show.           We had to make detours.        A



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 1      traffic loop is a fancy name for a detour.

 2                   THE COURT:     Well, I guess so in some sense, but

 3      in this case, it is a detour, but it also forms a loop

 4      that you go around for 23 miles.            Is there anything

 5      substantially similar to that at any other event the city

 6      regulates?

 7                   MR. MICHAEL BATTLE:        Not a 23-mile loop.        And

 8      let me speak a moment about why it's 23 miles.

 9                   THE COURT:     Okay.

10                   MR. MICHAEL BATTLE:        What's in the city is the

11      6.5-mile control road.

12                   THE COURT:     Right.

13                   MR. MICHAEL BATTLE:        They have -- when you get

14      outside of the city or where the people go after they get

15      into the loop, there was much debate and discussion

16      amongst the Bikefest Task Force participants.               Surfside

17      did not want to have that traffic dumped into Surfside.

18      North Myrtle Beach did not want the traffic dumped into

19      North Myrtle Beach.        Horry County did not want the traffic

20      dumped into Horry County.           So that was the decision that

21      was made -- came about as a result of the planning of the

22      parties.     It also seemed to be the one that best

23      accommodated the traffic and allowed people to get

24      anywhere within the city that they needed to get without

25      encountering the loop.



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 1                  THE COURT:      It was talked about, I think, by one

 2      of the city witnesses that the city proposed a different

 3      loop than the one --

 4                  MR. MICHAEL BATTLE:          I said that.

 5                  THE COURT:      You said that?       What did the city

 6      propose?

 7                  MR. MICHAEL BATTLE:          They proposed a loop that

 8      would be going more towards North Myrtle Beach and then

 9      coming back.     And it was rejected.          I'm not familiar with

10      the details of it.       It may have been a longer loop.            I

11      think it may have been a longer loop, candidly.                But it

12      was -- my point in making that argument is that the

13      Bikefest Task Force is the one that chose the loop and

14      made the decision.       It wasn't just the city.          Now, the

15      city is a member and certainly has influence.               But as far

16      as the ultimate decision, we agreed to work with everybody

17      else.

18                  THE COURT:      There was -- I read, I think, about

19      someone maybe proposing a 40-mile loop and someone

20      proposing a nine-mile loop.            Did the city -- was that in

21      the part of the discussion?

22                  MR. MICHAEL BATTLE:          Yes, sir, that was

23      considered by the Bikefest Task Force.              I think the

24      nine-mile loop may have been proposed by Chief Williams.

25                  THE COURT:      Okay.      I got you.    That was -- that



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 1      makes sense with what he's testified to earlier.

 2                  Before 2009, do you know the way in which Harley

 3      Week was regulated from a traffic standpoint?

 4                  MR. MICHAEL BATTLE:         I wasn't involved in

 5      regulating -- I do know what the ordinances were there.                    I

 6      do know that there were issues I think that -- the main

 7      thing that I can recall about that area in that time was

 8      that at all times, they had a two -- I mean, a one-way

 9      traffic for both weeks.         There were emergency lanes.          Now,

10      the number of police and what took place and that sort of

11      thing, I don't know.        But what the plaintiff seeks to

12      have -- do away with what was in place.

13                  THE COURT:      Is it -- does the city contend or

14      believe that before the boycott, if that's the right word,

15      in '09 by participants in Harley Week, that Bikefest and

16      Harley Week were more similar?

17                  MR. MICHAEL BATTLE:         I think you had more

18      participation of bikers on Ocean Boulevard during that

19      time.    I don't -- I don't have access -- and that brings

20      up an excellent point that I would like to make that I

21      think you're aware of.         We haven't had a chance to do the

22      discovery on that.       I haven't had a chance to go back.

23      And those things are important.

24                  THE COURT:      You could have -- and you've said

25      that.    And I don't mean to be too critical, but I've had



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 1      injunction cases and I've seen motions for expedited

 2      discovery.       And I don't know that anyone's made that

 3      request, have they?

 4                   MR. MICHAEL BATTLE:         No, sir, we didn't know

 5      that the -- until last week when we talked that we were

 6      going to have the hearing before the weekend.

 7                   THE COURT:      Well, that's fair.           Y'all have been

 8      moved around.       I'm not -- like I say, I'm not trying to be

 9      critical.     But --

10                   MR. MICHAEL BATTLE:         I understand.        We would

11      like to go ahead and get the discovery done and do that

12      stuff.    And we are in the process of hiring experts and

13      analysts to try and come up with more answers for the

14      Court.

15                   THE COURT:      I appreciate that.

16                   MR. MICHAEL BATTLE:         We're not simply pushing it

17      aside and saying this is just -- what we're concerned

18      about is a preliminary injunction of an event that's going

19      to take place in two and a half weeks.

20                   THE COURT:      And I appreciate that issue.              You

21      briefed that and that's --

22                   MR. MICHAEL BATTLE:         I'm sorry.

23                   THE COURT:      No, no, I'm not being -- I'm not

24      trying to be dismissive of that.             Both sides have, I

25      think, issues that are valuable and important.                  So I



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 1      acknowledge that.

 2                   Now, what's the city's position on if the Court

 3      were to grant an injunction, should a bond be issued?                   If

 4      so, what amount?        And what's that amount based on?

 5                   MR. MICHAEL BATTLE:         All right.       We have spent

 6      $305,000 in equipment purchases.             We have already reserved

 7      hotel rooms for all these outside police officers to come

 8      in, and we have them coming in.             And we would be in a

 9      better -- I mean, we would really have to scramble to

10      figure out any way to try to make the event safer.

11                   THE COURT:      Well, that's -- that point, I

12      understand.       That's a -- to me deals with maybe the

13      balance of the equities and the public interest issues for

14      the Court to consider.

15                   MR. MICHAEL BATTLE:         Sure.

16                   THE COURT:      I think that's a legally different

17      issue than a bond.        Is there a bond that the city believes

18      would be appropriate if the Court were inclined to grant a

19      motion?    And what would that be based on?

20                   MR. MICHAEL BATTLE:         What we would have to do is

21      to -- I mean, it would certainly be in excess of the money

22      we've already expended in terms of the equipment that

23      we've purchased and what we've gotten ready for, in that

24      amount.    We feel like that that would be, more or less,

25      set aside.       And then if we were to prevail and say, yeah,



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 1      ultimately, on the merits, which we believe we will, then

 2      you have that, you have the -- how can you measure the

 3      delegitimization of government and a failure along those

 4      lines in terms of as a damage.            If the preliminary

 5      injunction doesn't make any findings of fact, doesn't make

 6      any conclusions of law, simply says based on what I've

 7      heard so far, I think you're wrong, and then it turns out

 8      the judge happens to be incorrect, what sort of -- how

 9      would you go about making a reparation for that?

10                  THE COURT:      I'm not arguing that point.            I'm

11      just trying to decide -- one of the things we've got to

12      consider, among all these things, is whether, if we do it,

13      we issue -- we order a bond to be in place.

14                  MR. MICHAEL BATTLE:         Yes, sir.

15                  THE COURT:      And your points, I've understood

16      those.    I think they may go to whether or not we should

17      grant the motion or not.         But I'm just trying to hear you

18      out on the bond.       And I think I understand.          That's

19      probably a hard thing in a case like this.               And I think --

20                  MR. MICHAEL BATTLE:         I would leave that to your

21      sound discretion bearing in mind the amount we've already

22      spent.

23                  THE COURT:      Yes, sir.      Last thing I want to

24      explore is Ordinance 19-178, which is headed, The City May

25      Declare an Extraordinary Event.            Certain events are



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 1      declared.    Are you familiar with that ordinance?

 2                  MR. MICHAEL BATTLE:         Yes, sir, I am.

 3                  THE COURT:      Subsection B refers to the Bikefest

 4      week.    You know, people use different names for it, but

 5      that appears to be what is designated by Subsection E.

 6      And it says, The Bikefest may be declared an emergency

 7      event.    Is that your understanding?

 8                  MR. MICHAEL BATTLE:         Yes, sir.

 9                  THE COURT:      Has it been declared an emergency

10      event?

11                  MR. MICHAEL BATTLE:         No, sir.

12                  THE COURT:      It has not?

13                  MR. MICHAEL BATTLE:         Not to my knowledge.        I

14      think that would require some act -- it has been declared

15      an emergency event.        I'm sorry.      It has been.

16                  THE COURT:      Okay.

17                  MR. MICHAEL BATTLE:         I'm just familiar with

18      drafting the ordinance.         I can tell you why they've had

19      that ordinance.

20                  THE COURT:      Well, I'm not interested in -- I

21      mean, I am interested in that.            But for right now, I mean,

22      that ordinance hasn't been as much of the focus as the

23      plan.    Of course, it's the event that -- you know, I guess

24      it's the ordinance that authorizes in part the city to

25      participate in the decision about the plan.



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 1                  Do you know, Mr. Battle, the criteria that were

 2      considered in -- and if you want to go confer with your

 3      co-counsel.      I don't really want to get a lot more

 4      testimony because I restricted that.             And if I have a hole

 5      in the record, I have a hole in the record on this.                 But I

 6      mean, do you know the criteria that were used to -- when

 7      Bikefest -- first of all, when was Bikefest declared an

 8      emergency event?       Was that a one-time event or is that

 9      done every year?       And what are the criteria that are used

10      to -- for it to be so declared?

11                  MR. MICHAEL BATTLE:          I believe the criteria are

12      set forth in the ordinance itself.

13                  THE COURT:      Subsection A?

14                  MR. MICHAEL BATTLE:          Yes, sir.

15                  THE COURT:      Okay.      The city doesn't contend,

16      does it, that Bikefest inherently is an emergency event?

17      It has to apply the criteria to it, do you agree with

18      that?

19                  MR. MICHAEL BATTLE:          Yes, sir, based on past

20      experience, I mean, this is -- what makes this an

21      extraordinary event is we have no way to know what is

22      coming.

23                  THE COURT:      I understand.

24                  MR. MICHAEL BATTLE:          There is not a special

25      event where we have permits and we have private security



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 1      guards and all those sorts of things.             This is something

 2      where it may develop to be an extraordinary event,

 3      emergency-type situation.          But we prepare for the worst

 4      and hope for the best.

 5                  THE COURT:      I understand.

 6                  Okay.    All right.        I want to thank everyone here

 7      for coming today.       As I said earlier, I want to thank

 8      y'all for being prepared.          This was very well presented.

 9                  I want to thank you for your professionalism.

10      This is an issue that, you know, plaintiffs have very

11      strong feelings about, the defendants have strong feelings

12      about.    And y'all have displayed and argued your positions

13      I think well and with civility and professionalism, which

14      is kind of a hallmark of the bar up here.                And we're glad

15      to see it's a hallmark of other parts of the profession.

16                  I am -- we know this event is coming up.               So we

17      know we've got work to do and got work to do quick.                 And

18      we're going to undertake to do that.             And we're going to

19      take this under advisement.

20                  But we will issue an order as soon as we can.                  I

21      can't give you an exact deadline, but we're going to try

22      to do it quickly.       We know, you know, time is of the

23      essence in getting a decision to both parties.

24                  So I want to thank you.          And we'll be in touch

25      with an order as soon as we can.            Thank you very much.



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 1                  MR. COLFAX:      Thank you, Your Honor.

 2                  MR. MICHAEL BATTLE:          Thank you, Your Honor.

 3            (WHEREUPON, court was adjourned at 5:28 p.m.)

 4                                         ***

 5      I certify that the foregoing is a correct transcript from

 6      the record of proceedings in the above-entitled matter.

 7          s/Karen E. Martin                               5/14/2018
        ____________________________                        _________________
 8      Karen E. Martin, RMR, CRR                    Date

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